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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:

GEORGE WASHINGTON BRIDGE BUS                                Chapter 11
STATION DEVELOPMENT VENTURE
LLC,1                                                       Case No. __________ (___)

                                    Debtor.


    DEBTOR’S MOTION FOR INTERIM AND FINAL ORDERS (I) AUTHORIZING
    THE DEBTOR TO OBTAIN POST-PETITION FINANCING, (II) AUTHORIZING
     THE DEBTOR TO USE CASH COLLATERAL, (III) GRANTING LIENS AND
      PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
       (IV) GRANTING ADEQUATE PROTECTION, (V) INVALIDATING ANY
        PURPORTED PREPETITION AWARD OF ATTACHMENT OF FUNDS,
     (VI) MODIFYING THE AUTOMATIC STAY, (VII) SCHEDULING A FINAL
              HEARING, AND (VIII) GRANTING RELATED RELIEF

         George Washington Bridge Bus Station Development Venture LLC (the “Debtor”), the

debtor and debtor in possession in the above-captioned case (the “Chapter 11 Case”), hereby

moves (the “Motion”) this Court for entry of an interim order (the “Interim Order”), in




         1
           The last four digits of the debtor’s federal taxpayer identification number are 8685. The debtor’s business
address is 11890 Sunrise Valley Drive, Suite 554, Reston, VA 20191.


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substantially the form attached hereto as Exhibit A, and a final order (the “Final Order,”2 and

collectively with the Interim Order, the “Financing Orders”), granting the relief described

below. In support thereof, the Debtor refers to the contemporaneously filed Declaration of

Bernard A. Katz in Support of Chapter 11 Petitions and First-Day Papers (the “First-Day

Declaration”). In further support thereof, the Debtor submits the Declaration of Bernard A.

Katz in Support of the Motion (the “Katz Declaration”), and further represents as follows:

                                             RELIEF REQUESTED

         1.         The Debtor respectfully requests entry of the Financing Orders under sections

105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e), 503, and 507 of title 11 of

the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6003, and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the

Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”):

         A.         authorizing the Debtor to obtain secured debtor-in-possession financing (the “DIP
                    Financing”), consisting of a superpriority senior secured multi-draw loan facility
                    (the “DIP Facility”), in an aggregate principal amount of up to $4,400,000.00
                    (the “DIP Commitments”), all on the terms and conditions set forth in the
                    Financing Orders and the DIP Documents (as defined below), and on an interim
                    basis, to borrow an aggregate principal amount not to exceed $1,225,031.00
                    (the “Initial Draw”);

         B.         authorizing the Debtor to execute and enter into the Superpriority Senior Secured
                    Debtor-in-Possession Loan Agreement, among the Debtor and New York City
                    Regional Center, LLC, as lender thereto (the “DIP Lender”), attached hereto as
                    Exhibit B (as amended, supplemented, or otherwise modified from time to time
                    in accordance with the terms hereof, the “DIP Credit Agreement” and, together
                    with the schedules and exhibits attached thereto and all agreements, documents,
                    instruments and/or amendments executed and delivered in connection therewith,
                    collectively, the “DIP Documents”), and the other DIP Documents, and to
                    perform all such other and further acts as may be required in connection with the
                    DIP Facility and the DIP Documents;

         C.         the granting of adequate protection to:

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             A form of Final Order will be filed with the Court in advance of the final hearing on the Motion.

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                  (i)      George Washington Bridge Bus Station and Infrastructure Development
                           Fund, LLC, in its capacity as the lender (the “Senior Secured Lender”) of
                           a $72,000,000 loan (the “Senior Secured Loan”) made pursuant to that
                           certain Permanent Loan Agreement, dated as of July 20, 2011 (as
                           amended, restated, supplemented, or modified from time to time,
                           the “Senior Secured Loan Agreement”), between the Debtor and the
                           Senior Secured Lender;

                  (ii)     Upper Manhattan Empowerment Zone Development Corporation, in its
                           capacity as a lender (“UMEZ”) of a $5,000,000 loan (the “UMEZ Loan”)
                           made pursuant to that certain Loan Agreement, dated as of February 27,
                           2018 (as amended, restated, supplemented, or modified from time to time,
                           the “UMEZ Loan Agreement”), between the Debtor and UMEZ; and

                  (iii)    GSNMF Sub-CDE 12 LLC, as one of the lenders (the “Building Secured
                           Lender,” and together with the Senior Secured Lender and UMEZ,
                           the “Prepetition Secured Parties”) of $19,065,000 in loans
                           (the “Building Loans”) under that certain Building Loan Agreement,
                           dated as of December 26, 2013 (as amended, restated, supplemented, or
                           modified from time to time, the “Building Loan Agreement”) by and
                           among the Debtor, GSB NMTC Investor LLC, as administrative agent
                           (the “Building Loan Agent”), Building Secured Lender, LIIF Sub-CDE
                           XXVI, LLC (“LIIF CDE”) and DVCI CDE XIII, LLC (“DV CDE”) as
                           co-lenders (collectively with the Building Secured Lender, the “Building
                           Lenders”).

         D.       subject to the restrictions set forth in the DIP Documents and the Interim Order,
                  authorizing the Debtor to use Cash Collateral (as defined below) and all other
                  Prepetition Collateral (as defined below) in which any of the Prepetition Secured
                  Parties have an interest and the granting of adequate protection to the Prepetition
                  Secured Parties with respect to, inter alia, such use of Cash Collateral and the
                  other Prepetition Collateral;

         E.       subject to certain challenge rights of parties-in-interest set forth in the Interim
                  Order, approving certain stipulations by the Debtor with respect to the Prepetition
                  Secured Credit Documents (as defined below) and the liens and security interests
                  arising therefrom;

         F.       the granting of superpriority claims pursuant to section 364(c)(1) of the
                  Bankruptcy Code to the DIP Lender as well as liens, including priming liens,
                  pursuant to section 364(d) of the Bankruptcy Code, as further described herein, on
                  all pre-petition and post-petition property of the Debtor’s estate and all proceeds
                  thereof (including, upon Court approval and entry of the Final Order, any
                  Avoidance Proceeds (as defined below));

         G.       subject to approval by the Court and entry of the Final Order, waiving the
                  Debtor’s right to surcharge the Prepetition Collateral and the Debtor Collateral (as

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                  defined below) pursuant to section 506(c) of the Bankruptcy Code and any right
                  of the Debtor under the “equities of the case” exception in section 552(b) of the
                  Bankruptcy Code;

         H.       subject to approval by the Court and entry of the Final Order, a finding that none
                  of the DIP Lender or the Prepetition Secured Parties shall be subject to the
                  equitable doctrine of “marshaling” or any similar doctrine with respect to the
                  Debtor Collateral;

         I.       invalidating any purported prepetition award of attachment of funds in favor of
                  Tutor Perini Building Corp. and authorizing the Debtor to utilize rents and monies
                  prepetition and post-petition to fund necessary expenses in accordance with the
                  Approved Budget;

         J.       modifying the automatic stay to the extent set forth herein and in the DIP
                  Documents; and

         K.       set the date for the hearing (the “Final Hearing”) to consider on a final basis the
                  Motion and the entry of the Final Order authorizing and approving the
                  transactions described in the foregoing clauses on a final basis.

                                    PRELIMINARY STATEMENT

         2.       In the weeks leading up to the Petition Date, the Debtor and its advisors engaged

in extensive, hard-fought negotiations with the DIP Lender and Senior Secured Lender regarding

potential proposals for debtor-in-possession financing and that consensual use of Cash Collateral

that would provide the Debtor with critical liquidity to fund its operations and this Chapter 11

Case. These negotiations culminated in a post-petition financing facility provided by the Senior

Secured Lender and the consensual use of cash collateral during this Chapter 11 Case.

         3.       By this Motion, the Debtor seeks approval of the DIP Facility provided by the

DIP Lender in an aggregate principal amount of $4,400,000.00. The Debtor is seeking entry of

the Interim Order approving (i) the DIP Documents, (ii) the Initial Draw, and (iii) at the Final

Hearing, the Debtor will seek authorization to borrow the remaining amounts under the DIP

Documents and to reaffirm the borrowing and related obligations authorized by the Interim

Order on a final basis. If approved, the use of Cash Collateral and the DIP Facility will provide


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the Debtor with sufficient liquidity to fund the Debtor’s operations and administrative expenses

during this Chapter 11 Case as set forth in the 5-month approved budget (the “Approved

Budget,” which is attached hereto as Exhibit C).

         4.       For these reasons, for the reasons set forth below, and in the First-Day

Declaration and Katz Declaration, the Debtor believes that entry into the DIP Facility will

maximize value for the Debtor’s stakeholders and represents an exercise of the Debtor’s sound

business judgment. Accordingly, the Debtor respectfully requests that the Court approve the

entry of the Interim Order and ultimately at the Final Hearing, the Final Order.

             CONCISE STATEMENT PURSUANT TO BANKRUPTCY RULE 4001(B)
                        AND LOCAL BANKRUPTCY RULE 4001-2

         5.       The below chart contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant documents, as

required by Bankruptcy Rule 4001(b)(1)(B) and Local Bankruptcy Rule 4001-2.

   Bankruptcy                                        Summary of Material Terms3
  Rule/Local Rule

Borrower                        George Washington Bridge Bus Station Development Venture, LLC
Bankr. R.
4001(c)(1)(B)                   See DIP Credit Agreement, introductory paragraph.

DIP Lender                      New York City Regional Center, LLC.
Bankr. R.
4001(c)(1)(B)                   See DIP Credit Agreement, introductory paragraph.

Entities with                   The Prepetition Secured Parties.
Interests in Cash
Collateral                      See Interim Order, ¶ 5.
Bankr. R.
4001(b)(1)(B)(i)

DIP Commitment                  In an aggregate principal amount of up to $4,400,000.00, and on an

         3
          Capitalized terms used but not otherwise defined in this chart shall have the meanings ascribed to them in
the DIP Credit Agreement.

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Bankr. R.                       interim basis, to borrow an aggregate principal amount not to exceed
4001(c)(1)(B) L.R.              $1,225,031.00.
4001-2(a)(1), (a)(7)
                                See DIP Credit Agreement, § 2.01.

Cash Collateral                 Subject to the terms and conditions contained in the DIP Documents and
L.R. 4001-2(a)(1)               the Financing Orders, the Prepetition Secured Parties consent to the use
                                of their “cash collateral” as defined in Section 363(a) of the Bankruptcy
                                Code.

                                See Interim Order, ¶ 15.

Term/Maturity                   Five months after the Petition Date.
Bankr. R.
4001(c)(1)(B)                   See DIP Credit Agreement, § 1.01.

Interest Rates              The Debtor shall pay to the DIP Lender the then unpaid principal amount
Bankr. R.                   of the loan and all interest accrued thereon and costs and expenses then
4001(c)(1)(B)               due and owing on the Maturity Date. The funds comprising each
L.R. 4001-2(a)(3)           Advance shall bear interest at the rate of 10.0% per annum. Interest is
                            earned monthly, but payable-in-kind until the Maturity Date.

                            See DIP Credit Agreement, §§ 2.06 and 2.08.

Default Rate                Default Rate means 10.75% per annum.
Bankr. R.
4001(c)(1)(B)               See DIP Credit Agreement, § 1.01.
L.R. 4001-2(a)(3)

Expenses and Fees           The Debtor agrees to pay to the DIP Lender a fee (the “Origination
Bankr. R.                   Fee”) equal to the lesser of 2.00% of the maximum amount of
4001(c)(1)(B) L.R.          commitments to be available under the DIP Facility and $50,000.00,
4001-2(a)(3)                which shall be earned as of the time of the First Advance and shall be
                            due and payable at the earlier of termination of the DIP Facility and the
                            payment in full of all Advances (whether as of the Maturity Date or at
                            such other time as may be agreed by the Lender), and which Origination
                            Fee may be paid by netting such amount due to the DIP Lender from the
                            disbursement of the First Advance to the Debtor.

                            The Debtor agrees to pay to the DIP Lender an exit fee (the “Exit Fee”)
                            equal to the lesser of 3.00% of the maximum amount of commitments to
                            be available under the DIP Facility and $75,000.00, which Exit Fee shall
                            be earned, due and payable at the earlier of termination of the Loan and
                            the payment in full of all Advances (whether as of the Maturity Date or
                            at such other time as may be agreed by the DIP Lender).

                            Without duplication of amounts required to be paid pursuant to the DIP
                            Documents, upon entry of the Interim Order, the Debtor shall pay in cash
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                            all fees, expenses, and disbursements payable to the DIP Lender pursuant
                            to the Approved Budget.

                            See DIP Credit Agreement, § 2.11; Interim Order, ¶ 16(c).
Use of Proceeds             Subject to the Financing Orders, the Debtor shall only use the proceeds
Bankr. R.                   of the DIP Facility for ordinary course general working capital and
4001(b)(1)(B)(ii),          operational expenses (including, without limitation, administrative
(c)(1)(B)                   expenses arising in the Chapter 11 Case and post-petition lease
L.R. 4001-2(a)(2)           payments) in accordance with the Approved Budget subject to the
                            Permitted Variance. For the avoidance of doubt, except as may be set
                            forth in any Financing Order or as consented to by the DIP Lender
                            expressly in writing, none of the Advances, in whole or in part, shall be
                            used (i) to attack the validity, priority or enforceability of any of the
                            claims of the DIP Lender or Prepetition Secured Parties, (ii) to research,
                            review, analyze or investigate with respect to or in connection with any
                            litigation, claim, objection or cause of action of any kind or nature
                            whatsoever against the DIP Lender or Prepetition Secured Parties
                            (whether or not arising from or related to pre-petition or post-petition
                            acts, omissions or other conduct), or (iii) to file, prosecute or otherwise
                            pursue any litigation, claim, objection or cause of action of any kind or
                            nature whatsoever against the DIP Lender or Prepetition Secured Parties
                            (whether or not arising from or related to pre-petition or post-petition
                            liens, acts, omissions or other conduct).

                            See DIP Credit Agreement, § 2.04.

5-Month Budget              All advances under the DIP Facility and any Cash Collateral shall be
Bankr. R.                   used by the Debtor solely in accordance with the Approved Budget
4001(c)(1)(B)               setting forth all forecasted (i) cash receipts of the Debtor (ii) cash
L.R. 4001-2(a)(2)           operating disbursements of the Debtor, and (iii) non-operating,
                            bankruptcy-related cash disbursements of the Debtor, which Approved
                            Budget shall be approved by the DIP Lender in its sole and absolute
                            discretion.

                            Compliance with the Approved Budget will be measured every month,
                            starting with the first month during which the Petition Date occurs.

                            See DIP Credit Agreement, §§ 2.02, 2.03 and 3.23.

                            The Debtor pledges, assigns and grants to the DIP Lender new Liens (the
Liens and Priorities        “DIP Liens”) on and security interests in all of the Debtor’s right, title
Other Than                  and interest in and to and under, the DIP Collateral, pursuant to Sections
Adequate Protection         364(c)(2), 364(c)(3) of the Bankruptcy Code, which shall at all times
Liens Bankr. R.             rank senior in priority to all Liens as security for the payment and
4001(c)(1)(B)(i), (xi),     performance of the pre-petition secured obligations and as an element of
L.R. 4001-2(a)(4)           the consideration for the advances.

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                            The DIP Lender shall have a super-priority administrative expense claim
                            (the “DIP Superpriority Claim”) pursuant to Bankruptcy Court
                            approval in the Interim Order and the Final Order with respect to the
                            obligations that will, in accordance with Section 364(c)(1) of the
                            Bankruptcy Code, have priority over any and all administrative expenses
                            of and unsecured claims against the Debtor now existing or hereafter
                            arising, of any kind or nature whatsoever, including, without limitation,
                            all administrative expenses of the kind specified in, or arising or ordered
                            under, Sections 105, 326, 328, 503(b), 506(c), 507(a), 507(b), 546(c),
                            726, and 1114 of the Bankruptcy Code, but shall be subject to the Carve-
                            Out.

                            See DIP Credit Agreement, § 9.02.

Adequate Protection         The Prepetition Secured Parties will be entitled to receive, as adequate
Bankr. R.                   protection for the use of the collateral and the priming of the liens and
4001(b)(1)(B)(iv),          security interests granted to the Prepetition Secured Parties under the
(c)(1)(B)(ii)               Prepetition Loan Documents, to the extent of any use of, or diminution in
                            the value of, the Prepetition Collateral:
L.R. 4001-2(a)(2)
                                1. superpriority claim status;

                                2. replacement liens on all DIP Collateral, junior only to the liens of
                                   the DIP Lender, but subject to any Prior Senior Liens; and

                                3. reimbursement of fees, costs and expenses incurred by the Senior
                                   Secured Lender in connection with the Chapter 11 Case, subject to
                                   the Budget.

                            See DIP Credit Agreement, § 9.02.
Carve Out                   “Carve-Out” means an amount equal to the sum of (i) all fees required
L.R. 4001-2(a)(5),          to be paid to the clerk of the Court and to the Office of the United States
(a)(9)                      Trustee under section 1930(a) of title 28 of the United States Code plus
                            interest at the statutory rate (without regard to the notice set forth in (iii)
                            below); (ii) all reasonable fees and expenses incurred by a chapter 7
                            trustee under section 726(b) of the Bankruptcy Code in an amount not to
                            exceed $25,000.00 (without regard to the notice set forth in (iii) below);
                            and (iii) (A) all paid and unpaid claims for fees, costs, disbursements and
                            expenses to the extent allowed at any time, whether by interim order,
                            final order, procedural order or otherwise of persons or firms retained by
                            the Debtor pursuant to sections 327, 328 or 363 of the Bankruptcy Code,
                            Bernard A. Katz, as independent member of the Debtor, or any official
                            committee of unsecured creditors (the “Creditors’ Committee”) in the
                            Chapter 11 Case (collectively, the “Professional Fees”, and the retained
                            professionals, the “Professional Persons”) incurred at any time on or
                            before the Borrower’s receipt of the Trigger Notice, plus
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                            (B) Professional Fees incurred after the Borrower’s receipt of the Trigger
                            Notice in an amount not to exceed $200,000 (such amounts incurred in
                            (B), collectively with any paid and unpaid claims in (A), the “Carve-Out
                            Cap”), in each case subject to the limits imposed by this Interim Order,
                            the Final Order (if and when entered) or otherwise, on Professional Fees
                            permitted to be incurred, including in connection with any permitted
                            investigation of the claims, liens, and defenses against the Prepetition
                            Secured Parties; provided that nothing herein shall be construed to
                            impair the ability of any party to object to the fees, expenses,
                            reimbursement or compensation described in clauses (i), (ii), (iii)(A) or
                            (iii)(B) above on any other grounds. “Trigger Notice” shall mean a
                            written notice delivered by the DIP Lender describing the event of
                            default that is alleged to continue under the DIP Documents (or after the
                            payment in full of the DIP Obligations, the Senior Secured Lender
                            describing the reason for termination of the use of Cash Collateral).
                            Immediately upon delivery of a Trigger Notice, and before the payment
                            to any Prepetition Secured Party on account of any adequate protection
                            or otherwise, the Debtor shall be required to deposit, in a segregated
                            account not subject to the control of the DIP Lender or the Senior
                            Secured Lender (the “Carve-Out Account”), an amount equal to the
                            Carve-Out Cap. The funds on deposit in the Carve-Out Account shall be
                            available only to satisfy obligations benefitting from the Carve-Out, and
                            the (i) DIP Lender and the Senior Secured Lender shall not sweep or
                            foreclose on cash of the Debtor necessary to fund the Carve-Out Account
                            and (ii) the Senior Secured Lender shall have a security interest upon any
                            residual interest in the Carve-Out Account available following
                            satisfaction in cash in full of all obligations benefitting from the Carve-
                            Out. Professional Fees for Professional Persons retained by the
                            Creditors’ Committee shall not exceed $375,000.00 for the duration of
                            the Debtor’s Chapter 11 Case.

                            See Interim Order, ¶ 10(b).

Cross                  The DIP Credit Agreement does not provide for cross-collateralization.
Collateralization L.R.
4001-2(a)(6)

Roll Up                     The DIP Facility does not provide for a roll-up of any pre-petition
L.R. 4001-2(a)(7)           obligations.




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Events of Default           Each of the following shall be an Event of Default under the DIP
Bankr. R.                   Documents:
4001(c)(1)(B) L.R.
4001-2(a)(10)                               (a) the Debtor shall fail to pay (i) any principal or
                            interest on the DIP Facility (including without limitation payment-in-full
                            of all principal and interest then due and payable at the Maturity Date or
                            as otherwise applicable in the event of acceleration), or (ii) any fees in
                            connection with the DIP Facility, when and as the same shall become
                            due and payable when due, and if such failure shall continue for three
                            Business Days;

                                            (b) except with respect to any default resulting from the
                            commencement of the Chapter 11 Case, if a default occurs under the
                            terms and provisions of any indebtedness, and such holder institutes
                            foreclosure or other proceedings for the enforcement of its remedies
                            thereunder, which foreclosure or other proceedings are not discharged
                            (without affecting the Retail Center) or bonded within 60 days of written
                            notice from the institution thereof (this subsection shall not be construed
                            to imply that the DIP Lender consents to any junior or senior lien or
                            encumbrance except as otherwise provided for herein);

                                            (c) the Debtor shall fail to pay any other fee or other
                            amount payable under the DIP Credit Agreement or any other DIP
                            Documents, when and as the same shall become due and payable, and
                            such failure shall continue un-remedied for a period of ten Business days
                            after written notice thereof;

                                           (d) any representation or warranty made by Debtor in
                            the DIP Credit Agreement or any amendment or modification hereof or
                            waiver hereunder, or in any report, certificate, financial statement or
                            other document furnished pursuant to or in connection with DIP Credit
                            Agreement or any other DIP Document, or any amendment or
                            modification hereof or thereof or waiver hereunder or thereunder, shall
                            prove to have been incorrect in any material respect when made;

                                            (e) the Debtor shall fail to observe or perform any
                            covenant, condition or agreement contained in Sections 5.02, 5.03 (with
                            respect to the Debtor’s existence), 5.05, 5.09, 5.11, 5.13, or in 6.03 and
                            such failure shall continue un-remedied for a period of ten days (except
                            in the cause of Section 5.11) after the earlier of (x) knowledge thereof by
                            the Debtor and (y) notice thereof from the DIP Lender to the Debtor;

                                            (f) the Debtor shall fail to observe or perform any
                            covenant, condition or agreement contained in the DIP Credit
                            Agreement, and such failure shall continue un-remedied for a period of
                            30 days after the earlier of (x) knowledge thereof by the Debtor and (y)


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                            notice thereof from the DIP Lender to the Debtor;

                                             (g) except with respect to any default resulting from the
                            commencement of the Chapter 11 Case, any event or condition occurs
                            that results in any Indebtedness (other than in respect of the DIP Facility)
                            becoming due prior to its scheduled maturity or that enables or permits
                            (with or without the giving of notice, the lapse of time or both) the holder
                            or holders of any Indebtedness (other than in respect of the DIP Facility)
                            or any trustee or agent on its or their behalf to cause any such
                            Indebtedness to become due, or to require the prepayment thereof, prior
                            to its scheduled maturity and the Debtor fails to pay such Indebtedness or
                            obtain an extension or moratorium;

                                             (h) one or more judgments for the payment of money in
                            an aggregate amount in excess of $250,000, which sum shall not be
                            subject to full, complete and effective insurance coverage, shall be
                            rendered against the Debtor after the Petition Date and the same shall
                            remain un-discharged for a period of 30 consecutive days during which
                            execution shall not be effectively stayed, or any action shall be legally
                            taken by a judgment creditor to attach or levy upon any assets of the
                            Debtor or any Subsidiary (if permitted by DIP Lender in writing), to
                            enforce any such judgment;

                                           (i)    if, except as specifically provided to the contrary in
                            the DIP Credit Agreement, without the consent of the DIP Lender (which
                            consent in any and all circumstances may be withheld in the sole and
                            absolute discretion of the Lender), the Debtor fails to comply with
                            Sections 6.01, 6.02, 6.03, 6.04, 6.05, and 6.09 hereof;

                                             (j)   if the insurance policies required to be maintained
                            pursuant to Section 3.17 hereof are not kept in full force and effect, or if
                            certificates of such insurance policies are not delivered to the DIP Lender
                            (or copies of such insurance if required by law) upon request and such
                            failure shall continue un-remedied for a period of 15 days after written
                            notice thereof;

                                            (k) if the Debtor shall be in default beyond any
                            applicable notice and grace period, if any, under any Indebtedness
                            covering any part of the Retail Center whether superior or inferior in lien
                            to the DIP Facility, whether existing as of the date hereof or subsequent
                            to the date hereof;

                                          (l)   if any Contract is cancelled or amended or modified
                            and such modification or amendment would constitute a material
                            modification without the prior written consent of the DIP Lender not to
                            be unreasonably withheld or delayed or if a default beyond applicable


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                            periods of notice and grace shall occur under any Contract;

                                          (m) if the Financing Orders do not give the DIP Lender
                            a good and sufficient lien on the DIP Collateral, or if any Lien created
                            under the DIP Credit Agreement or any of the DIP Documents or the
                            Financing Orders ceases to be valid or enforceable for any reason;

                                         (n) if the Mortgaged Property is, in the judgment of
                            DIP Lender materially injured or destroyed by fire or otherwise;

                                             (o)    if by reason of acts of God, floods, storms,
                            explosion, fires, labor troubles, strikes, insurrection, riots, acts of the
                            public enemy, or federal, state or local law, order, rule, or regulation,
                            either party is prevented from complying with any condition of the DIP
                            Credit Agreement or from complying with any express or implied
                            covenant in the DIP Credit Agreement, then while so prevented the party
                            shall be relieved of the obligation of complying with such covenant and
                            shall not be liable for damages for failure to comply with it. Any
                            obligation of either party shall be extended for as long as it is so
                            prevented from complying with any condition or covenant in the
                            agreement. Notwithstanding the above, nothing contained herein shall
                            be construed to relieve the Debtor from timely making any and all
                            payments required under the Note executed in connection with the DIP
                            Credit Agreement;

                                             (p) if the Debtor executes any chattel mortgage on any
                            materials, fixtures or articles used in the construction or operation of the
                            Retail Center or appurtenant thereto, or articles of personal property
                            placed on the Mortgaged Property, or if any such materials, fixtures or
                            articles are not reasonably satisfactory to the DIP Lender or are
                            purchased on conditional bill of sale or otherwise so that the ownership
                            thereof will not vest unconditionally in the Debtor, free from
                            encumbrance, on delivery at the Mortgaged Property; and if the Debtor
                            does not furnish to the DIP Lender, if requested in writing, the contracts,
                            bills of sale, statements, receipted vouchers and agreements, or any of
                            them, under which the Debtor claims title to such materials, fixtures and
                            articles;

                                             (q) the Debtor (except following the DIP Lender’s prior
                            written request or with the DIP Lender’s express prior written consent)
                            files a motion with the Bankruptcy Court or any other court with
                            jurisdiction in the matter seeking an order, or an order is otherwise
                            entered, modifying, reversing, revoking, staying, rescinding, vacating, or
                            amending the Financing Orders or any of the DIP Documents, without
                            the DIP Lender’s express prior written consent (and no such consent
                            shall be implied from any other action, inaction, or acquiescence of the


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                            DIP Lender);

                                            (r) the Borrower files any motion or application, or the
                            Bankruptcy Court grants the motion or application of any other Person,
                            which seeks approval for or allowance of any claim, lien, security
                            interest ranking equal or senior in priority to the claims, liens and
                            security interests granted to the DIP Lender under the Financing Orders
                            or the Loan Documents or any such equal or prior claim, lien, or security
                            interest shall be established in any manner, except, in any case, as
                            expressly permitted under the Financing Orders;

                                           (s) the entry of an order by the Bankruptcy Court
                            authorizing the Debtor to obtain financing pursuant to Section 364 of the
                            Bankruptcy Code from any person other than the DIP Lender which is
                            secured by Liens of equal or greater priority than the Liens securing the
                            Secured Obligations;

                                           (t)    the entry of an order by the Bankruptcy Court
                            converting the Chapter 11 Case to a Chapter 7 case under the Bankruptcy
                            Code, or dismissing the Chapter 11 Case or any subsequent Chapter 7
                            case either voluntarily or involuntarily;

                                            (u) the entry of an order which provides relief from the
                            automatic stay otherwise imposed pursuant to Section 362 of the
                            Bankruptcy Code without the DIP Lender’s prior written consent (not to
                            be unreasonably withheld), which order permits (i) any creditor, other
                            than the DIP Lender, to realize upon, or to exercise any right or remedy
                            with respect to, any material asset of the Debtor or to terminate any
                            license, franchise, or similar agreement, where such termination could
                            have a Material Adverse Effect or (ii) any material pre-petition litigation,
                            including, for the avoidance of doubt, the Tutor Perini Litigation to
                            continue with respect to the Debtor outside of the Bankruptcy Court;

                                           (v) if any creditor of the Debtor receives any adequate
                            protection payment which is not specifically set forth in the Budget, or in
                            the Financing Orders with respect to the Prepetition Secured Obligations
                            or other obligations of the Prepetition Secured Lenders, or any Lien is
                            granted as adequate protection other than as set forth in the Financing
                            Orders;

                                            (w) the Debtor is enjoined by any court or
                            governmental agency from continuing to conduct all or any material part
                            of its business, or if a trustee, receiver or custodian is appointed for the
                            Debtor or any of its properties;

                                           (x) the Interim Order or Final Order shall be modified,
                            reversed, revoked, remanded, stayed, rescinded, vacated or amended on

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                            appeal or by the Bankruptcy Court without the prior written consent of
                            the DIP Lender (and no such consent shall be implied from any other
                            authorization or acquiescence by the Lender) (which consent shall not be
                            unreasonably withheld);

                                           (y) a trustee is appointed pursuant to Sections
                            1104(a)(1) or 1104(a)(2) of the Bankruptcy Code;

                                           (z) an examiner with powers beyond those set forth in
                            Sections 1106(a)(3) and 1106(a)(4) is appointed pursuant to Section
                            1104(a) of the Bankruptcy Code;

                                           (aa) the Debtor fails to comply with the Milestones;

                                            (bb) any sale of the equity interests of the Debtor, or any
                            disposition of all or a material portion of all of the DIP Collateral
                            pursuant to sections 363 or 1129 of the Bankruptcy Code other than as
                            permitted by the applicable Financing Order, or (ii) the entry of any
                            order by the Bankruptcy Court providing for the same, unless in the case
                            of the foregoing clause (ii) only, such order provides that in connection
                            and concurrently with such transaction, the proceeds of such sale shall be
                            used to satisfy, in full and in cash, the Secured Obligations (other than
                            contingent indemnification or reimbursement obligations not then due)
                            under the DIP Documents;

                                          (cc) except as permitted by the First Day Orders or as
                            otherwise agreed to by the DIP Lender, the Debtor shall make any pre-
                            petition payment other than pre-petition payments authorized by the
                            Bankruptcy Court in accordance with the First Day Orders; or

                                             (dd) a chapter 11 plan that is not an Acceptable Plan
                            shall be (i) confirmed by any Person or (ii) confirmed or filed by the
                            Debtor, or any order shall be entered which dismisses the Chapter 11
                            Case of the Debtor and which order does not provide for termination of
                            the DIP Lender’s obligation to make Advances and indefeasible payment
                            in full in cash of the obligations under the DIP Documents and
                            continuation of the Liens with respect thereto until the effectiveness
                            thereof (other than contingent indemnity obligations not then due), or the
                            Debtor shall seek confirmation of any such plan or entry of any such
                            order.

                                            (ee) the Debtor shall take any action in support of any
                            matter set forth in clauses (bb) through (dd) above or in support of any
                            filing by any Person of a chapter 11 plan that is not an Acceptable Plan
                            or any other Person shall do so and such application is not contested in
                            good faith by the Debtor and the relief requested is granted in an order
                            that is not stayed pending appeal, in each case unless the DIP Lender

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                            consents to such action;

                                            (ff) without the express written consent of the DIP
                            Lender, the Debtor shall seek to, or shall support (whether by way of
                            motion or other pleadings filed with the Bankruptcy Court or any other
                            writing executed by the Debtor or by oral argument) any motion to,
                            (i) disallow in whole or in part any of the obligations arising under the
                            DIP Credit Agreement or any other DIP Document, (ii) disallow in
                            whole or in part any of the Indebtedness owed by the Borrower under the
                            DIP Credit Agreement or the Prepetition Secured Loans, (iii) challenge
                            the validity and enforceability of the Liens or security interests granted
                            under any of the DIP Documents or in any Financing Order in favor of
                            the DIP Lender, (iv) challenge the validity and enforceability of the
                            Liens or security interests granted under the secured loans granted in
                            favor of the Prepetition Secured Lenders, or (vii) challenge the validity
                            and enforceability of the ALR (as defined in the Financing Orders) or
                            any actions taken by the Pre-petition Senior Secured Lender or DIP
                            Lender in relation thereto;

                                           (gg) termination or expiration of any exclusivity period
                            for the Debtor to file or solicit acceptances for a plan of reorganization;

                                         (hh) noncompliance by the Debtor with the terms of the
                            Financing Orders;

                                            (ii) without the express written consent of the DIP
                            Lender, the Debtor shall take any actions (whether by way of motion or
                            other pleadings filed with the Bankruptcy Court or any other writing
                            executed by any Credit Party or by oral argument) with respect to the
                            Tutor Perini Litigation (and for the avoidance of doubt, if the DIP Lender
                            consents, any such motion and other pleadings shall be in form and
                            substance acceptable to the DIP Lender in its sole and absolute
                            discretion); and/or

                                            (jj) the entry of a court order invalidating the ALR or
                            the right of the Pre-petition Senior Secured Lender to collect and receive
                            Rent.

                            See DIP Credit Agreement, § 7.01.

Affirmative and             The affirmative covenants of the Debtor are set forth in Article V of the
Negative Covenants          DIP Credit Agreement and the negative covenants are set forth in Article
Including Financial         VI of the DIP Credit Agreement.
Covenants
Bankr. R.                   See DIP Credit Agreement, Art. V and VI.
4001(c)(1)(B) L.R.
4001-2(a)(8)

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Milestones                  The Debtor is required to comply with the following milestones:
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4001(c)(I)(B)(vi) l.r.                   (i)      on the Petition Date, the Debtor shall have filed a
4001-2(A)(10), (12)                               motion to approve the Credit Agreement, which
                                                  motion shall be in form and substance reasonably
                                                  acceptable to the Lender. The Interim Financing
                                                  Order approving the Credit Agreement shall be
                                                  entered by the Bankruptcy Court no later than three
                                                  Business Days following the Petition Date, which
                                                  Interim Financing Order shall be in form and
                                                  substance acceptable to the Lender in its sole and
                                                  absolute discretion;

                                         (ii)     no later than five Business Days after the Petition
                                                  Date, the Debtor shall file an application (or
                                                  applications, if necessary) with the Bankruptcy
                                                  Court to retain and employ the Sale Professional(s)
                                                  (the “Sale Professional Retention Application”),
                                                  which application shall be in form and substance
                                                  acceptable to Lender in its sole discretion;

                                         (iii)    no later than 30 days after the Petition Date, a Final
                                                  Financing Order approving the Credit Agreement
                                                  shall be entered by the Bankruptcy Court, which
                                                  Final Financing Order shall be in form and
                                                  substance acceptable to the Lender in its sole and
                                                  absolute discretion (and the related motion shall be
                                                  in form and substance reasonably acceptable to the
                                                  Lender);

                                         (iv)     no later than 30 days after the Petition Date, the
                                                  Bankruptcy Court shall have entered an order
                                                  approving the Sale Professional Retention
                                                  Application, which shall be in form and substance
                                                  acceptable to the Lender in its sole and absolute
                                                  discretion;

                                         (v)      no later than 14 days after notice by the Lender, the
                                                  Borrower shall have filed a motion under Section
                                                  365 of the Bankruptcy Code, requesting an
                                                  extension of the date on which the Borrower must
                                                  assume or reject leases to 210 days after the entry
                                                  of the order for such relief, with such order being
                                                  entered by the Bankruptcy Court no later than 30
                                                  days after the motion is filed (such motion and
                                                  order to be in form and substance acceptable to the
                                                  Lender in its sole and absolute discretion). The

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                                                  Borrower may not assume, assume and assign, or
                                                  reject any leases or executory contracts (including
                                                  the Ground Lease) without the prior written consent
                                                  of the Lender (which consent shall not be
                                                  unreasonably withheld);

                                         Sale Milestones:

                                         (vi)     no later than 30 days after the Petition Date, the
                                                  Borrower shall file a motion (the “Bid Procedures
                                                  Motion”) with the Bankruptcy Court to approve bid
                                                  procedures and establish the date of an auction (the
                                                  “Auction”), which shall include a form of a
                                                  stalking horse agreement (“Stalking Horse
                                                  Agreement”), which shall be in form and substance
                                                  acceptable to Lender in its sole discretion;

                                         (vii)    no later than 60 days after the Petition Date, the
                                                  Bankruptcy Court shall have entered an order
                                                  approving the Stalking Horse Agreement and Bid
                                                  Procedures Motion, which shall be in form and
                                                  substance acceptable to the Lender in its sole and
                                                  absolute discretion;

                                         (viii) no later than 135 days after the Petition Date, the
                                                Borrower shall conduct the Auction;

                                         (ix)     no later than 140 days after the Petition Date, the
                                                  Bankruptcy Court shall enter an order approving the
                                                  sale of the Borrower’s assets to the party
                                                  determined to have made the highest or otherwise
                                                  best bid for all or substantially all of the assets of
                                                  the Borrower (the “Sale Order”), which shall be in
                                                  form and substance acceptable to the Lender in its
                                                  sole and absolute discretion; and

                                         (x)      No later than 150 days after the Petition Date, the
                                                  Borrower shall have consummated the sale (the
                                                  “Sale”) to the party determined to have made the
                                                  highest or otherwise best bid for all or substantially
                                                  all of the assets of the Borrower in accordance with
                                                  the Sale Order pursuant to the Stalking Horse
                                                  Agreement or other sale and purchase agreement,
                                                  which shall be in form and substance acceptable to
                                                  the Lender in its sole and absolute discretion.



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                                         Plan Milestones:

                                         (xi)     no later than 60 days after the Petition Date, the
                                                  Borrower shall have filed with the Bankruptcy
                                                  Court an Acceptable Plan and disclosure statement
                                                  in form and substance acceptable to the DIP Lender
                                                  in its sole and absolute discretion;

                                         (xii)    no later than 95 days after the Petition Date, the
                                                  Bankruptcy Court shall have entered an order
                                                  approving the disclosure statement;

                                         (xiii) no later than 100 days after the Petition Date, the
                                                Borrower shall have commenced solicitation on the
                                                Acceptable Plan;

                                         (xiv)    no later than 140 days after the Petition Date, the
                                                  Bankruptcy Court shall have entered an order
                                                  confirming the Acceptable Plan in form and
                                                  substance acceptable to the DIP Lender in its sole
                                                  and absolute discretion; and

                                         (xv)     no later than 150 days after the Petition Date, the
                                                  Acceptable Plan shall have been consummated.

                            See DIP Credit Agreement, § 5.14.

Borrowing                   The Debtor shall request each Advance no more than once every two
Conditions Bankr. R.        weeks and not later than 12:00 PM New York City time three Business
4001(c)(1)(B) L.R.          Days prior to the date the Advance is to be made, or such shorter time
4001-2(a)(2)                period to which the Lender may agree in writing, and such request for an
                            Advance shall be substantially in the form of Advance request included
                            as Exhibit B to the DIP Credit Agreement. Each such request shall set
                            forth the aggregate amount of the requested Advance and the date of
                            borrowing of such Advance, and shall be delivered to the DIP Lender
                            (but only if and when actually received by the DIP Lender) in writing by
                            electronic mail or telecopy transmission, and certified (i) as conforming
                            to the terms of the DIP Credit Agreement and to the parameters of the
                            Budget and (ii) as attaching the relevant invoices evidencing the payment
                            obligations giving rise to the request for such Advance, in each by an
                            authorized representative of the Debtor.

                            See DIP Credit Agreement, § 2.03.

Funding of Non-             No non-Debtor affiliates will be funded by the DIP Facility.
Debtor Affiliates
L.R. 4001-2(a)(15)

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Material Terms,             Subject to the terms and conditions set forth in the DIP Credit
Including Duration          Agreement and the Financing Orders:
and Use of Cash
Collateral Bankr.               1. Upon entry of the Interim Order, in form and substance acceptable
R. 4001(b)(1)(B)(iii)              to the DIP Lender, the Debtor is authorized to use Cash Collateral,
                                   in accordance with the DIP Credit Agreement, Interim Order and
                                   Budget during the Initial Interim Cash Collateral Period and any
                                   period beyond the Initial Interim Cash Collateral Period approved
                                   by the DIP Lender, in its sole and absolute discretion.

                                2. The DIP Lender shall deposit each Advance under the DIP Facility
                                   into the Depository Account. It is contemplated by the DIP Lender
                                   and the Debtor that the DIP Facility shall consist of the initial, or
                                   first Advance (“First Advance”) and one or more subsequent
                                   Advances (“Subsequent Advances”). Each Advance shall be
                                   evidenced by DIP Lender’s delivery to the Debtor of an update of
                                   Schedule A as set forth in the Note which update of Schedule A the
                                   Lender shall deliver to the Debtor promptly following each
                                   Advance.

                            See DIP Credit Agreement, § 2.03.

Waiver/Modification         Upon the occurrence and during the continuance of any Event of Default,
of the Automatic            the Debtor agrees that the DIP Lender may, notwithstanding the
Stay                        automatic stay under Section 362 of the Bankruptcy Code (which
Bankr. R.                   automatic stay shall be automatically terminated without further notice or
4001(c)(1)(B)(iv) L.R.      order of the Bankruptcy Court) take such action, without notice or
4001-2(a)(10)               demand, as it deems advisable to protect and enforce its rights against the
                            Debtor and in and to the DIP Collateral.

                            The automatic stay provisions of section 362 of the Bankruptcy Code are
                            modified to the extent necessary to permit the DIP Lender to enforce all
                            of its rights under the DIP Documents and (i) immediately upon the
                            occurrence of an Event of Default, declare (A) the termination, reduction
                            or restriction of any further DIP Commitment to the extent any such DIP
                            Commitment remains and (B) all Secured Obligations to be immediately
                            due and payable, without presentment, demand, protest, or other notice
                            of any kind, all of which are expressly waived by the Borrower and
                            (ii) upon the occurrence of an Event of Default and the giving of seven
                            (7) days’ prior written notice (which shall run concurrently with any
                            notice required to be provided under the DIP Documents) via email to
                            counsel to the Debtor, counsel to the Creditors’ Committee, and the U.S.
                            Trustee to (A) withdraw consent to the Borrower’s continued use of Cash
                            Collateral and (B) exercise all other rights and remedies provided for in
                            the DIP Documents and under applicable law. In any hearing regarding
                            any exercise of rights or remedies under the DIP Documents, the only
                            issue that may be raised by the Debtor and the Prepetition Secured

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                            Parties in opposition thereto shall be whether, in fact, an Event of
                            Default has occurred and is continuing.

                            See DIP Credit Agreement, § 7.02; Interim Order, ¶ 12(d).

Indemnification             The Debtor shall indemnify the DIP Lender against, and hold DIP
Bankr. R.                   Lender harmless from, any and all losses, claims, damages, liabilities and
4001(c)(1)(B)(ix)           related expenses, including the fees, charges and disbursements of any
                            counsel or other advisor for DIP Lender, incurred by or asserted against
                            DIP Lender arising out of, in connection with, or as a result of (i) work
                            done by the Debtor in connection with the Retail Center or (ii) any actual
                            or alleged presence or release of Hazardous Materials as set forth in the
                            Environmental Indemnity, (iii) any actual or prospective claim, litigation,
                            investigation or proceeding relating to any of the foregoing, whether
                            based on Contracts, tort or any other theory and regardless of whether
                            Lender is a party thereto or (iv) any action or claim arising under the DIP
                            Credit Agreement, the DIP Documents and/or the DIP Facility and the
                            use of proceeds thereof; provided that such indemnity shall not be
                            available to the extent that such losses, claims, damages, liabilities or
                            related expenses are determined by a court of competent jurisdiction by
                            final and non-appealable judgment to have resulted from the gross
                            negligence or willful misconduct of DIP Lender.

                            See DIP Credit Agreement, § 8.03(b).

Debtor’s Stipulations The Debtor has made customary stipulations as to the validity of the
                        Prepetition Obligations.
Bankr. R.
4001(c)(1)(B)(iii) L.R. See Interim Order, ¶ 5.
4001-2(a)(18)

Section 506(c)              The Final Order approves the waiver of all section 506(c) surcharge
Waiver                      claims. In addition, effective upon the entry of the Final Order, the DIP
Bankr. R.                   Lender shall not be subject to the equitable doctrine of “marshaling” or
4001(c)(1)(B)(x)            any similar doctrine with respect to the DIP Collateral or the Prepetition
Bankr. R                    Collateral.
4001(c)(1)(B)(viii)
                            See Interim Order, ¶ 13.

Section 552(b)              The Final Order shall approve the waiver of rights under section 552(b)
Waiver                      of the Bankruptcy Code.
L.R. 4001-2(a)(4)
Bankr. R                    See Interim Order, ¶ 12(d).
4001(c)(1)(B)(viii)




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Liens on Avoidance          The DIP Collateral excludes the Debtor’s claims and causes of action
Actions                     under sections 502(d), 544, 545, 547, 548 and 550 of the Bankruptcy
Bankr. R                    Code, or any other avoidance actions under the Bankruptcy Code
4001(c)(1)(B)(xi)           (collectively, “Avoidance Actions”), but includes the proceeds or
                            property recovered, unencumbered or otherwise from Avoidance
                            Actions, whether by judgment, settlement or otherwise (“Avoidance
                            Proceeds”)), but only upon entry of the Final Order.

                            See Interim Order, ¶ 11(a).



                                    JURISDICTION AND VENUE

         6.       This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference, M-431, dated January 31, 2012

(Preska, C.J.). This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and

this Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

         7.       The legal predicates for the relief requested herein are Bankruptcy Code sections

105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e), 503 and 507, Bankruptcy

Rules 2002, 4001, 6003 and 9014, and Local Rule 4001-2.

                                           BACKGROUND

         8.       On June 30, 2011, the Port Authority of New York and New Jersey (the “Port

Authority”) approved a $183.2 million renovation and improvement plan for the 294,000 square

foot George Washington Bridge Bus Station (the “Bus Station”), a commuter bus terminal

located at the east end of the George Washington Bridge in the Washington Heights section of

New York City. The renovation project was structured as a public-private venture between the

Port Authority, as owner of the Bus Station, and the Debtor, as developer. The redevelopment

project included relocating the bus terminals to the third floor of the complex and creating a

state-of-the-art ground transportation hub. A new 15,000 square foot bus terminal was built

increasing the number of gates from 17 to 22 and 85,000 square feet of the existing bus station
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was reconfigured and upgraded. By relocating the bus station operations to the third floor of the

complex, a retail center of approximately 129,000 square feet was created. The Bus Station

remained operational during the renovation, which began in 2012 and was officially completed

on May 6, 2017.

         9.       Pursuant to an Agreement of Lease dated July 21, 2011, in addition to serving as

the developer of the Bus Station, the Debtor was granted a 99-year lease to operate the retail

portion of the Bus Station (the “Retail Space”). After significant construction delays, the Debtor

began leasing operations in the Retail Space on August 1, 2017.

         A.       The Chapter 11 Case

         10.      On the date hereof (the “Petition Date”), the Debtor commenced a case by filing

a petition for relief under chapter 11 of the Bankruptcy Code.

         11.      The Debtor continues to operate its business and manage its property as a debtor

and debtor in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

         12.      To date, the Office of the United States Trustee for the Southern District of New

York (the “U.S. Trustee”) has not appointed a Creditors’ Committee in the Chapter 11 Case, nor

has any trustee or examiner been appointed in the Chapter 11 Case.

         B.       The Debtor’s Pre-Petition Capital Structure

         13.      As of the Petition Date, the Debtor’s capital structure consisted of outstanding

funded debt obligations in the aggregate principal of approximately $105 million.

                  (i) Pre-Petition Loan Agreement with George Washington Bridge Bus
                      Station and Infrastructure Development Venture, LLC

         14.      The Debtor is a party to the Senior Secured Loan Agreement with the Senior

Secured Lender, whereby Senior Secured Lender agreed to provide the Debtor the Senior

Secured Loan in the aggregate principal amount of not less than $72,000,000 plus all accrued but


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unpaid interest, fees, expenses, and all other obligations expressly provided for thereunder, or

incurred in connection therewith (such obligations under the Senior Secured Loan and the Senior

Secured Loan Documents, the “Senior Secured Loan Obligations”).

         15.      The Senior Secured Loan Obligations are guaranteed by non-debtor GWB

Development Partners LLC (“Senior Secured Loan Guarantor”) pursuant to that certain

Deficiency Guaranty dated July 20, 2011 (the “Senior Secured Loan Guaranty”). Pursuant to

the Senior Secured Loan Guaranty, Senior Secured Loan Guarantor unconditionally and

absolutely guaranteed the prompt and punctual payment of the Senior Secured Loan, provided,

that, the Senior Secured Loan Guaranty is limited to the deficiency obtained by Senior Secured

Lender following Senior Secured Lender’s suing on the mortgage note and/or foreclosure under

the Mortgage (as hereinafter defined).

         16.      In addition, to secure the Senior Secured Loan Obligations, the Debtor provided

the Senior Secured Lender with a mortgage (the “Mortgage”) on the leasehold estate on the

premises located in New York, New York, known as Section 8, Block 2163, Lot 1 and Block

2176, Lot 17 (i.e., the Bus Station) (the “Mortgaged Property”). Under the Mortgage, the

Debtor granted to the Senior Secured Lender a security interest in the personalty, the fixtures,

plans, leases, rents, property agreements, equipment and all other Mortgaged Property which is

personal property (each within the meaning of the Uniform Commercial Code (“UCC”)). The

Debtor also assigned all right, title and interest in and to the leases and rents in connection with

the Mortgaged Property, pursuant to that certain Assignment of Leases and Rents, dated as of

July 20, 2011 (the “ALR”), a copy of which is annexed hereto as Exhibit D. Under the ALR

(1) the Debtor presently assigned its right to collect rental income to the Senior Secured Lender,

(2) the Senior Secured Lender waived its right to collect rental income under a license to the


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Debtor, so long as the Debtor continued to perform its obligations under the parties’ agreements,

and (3) the Senior Secured Lender retained the right to revoke the license to the Debtor, allowing

the Senior Secured Lender to recoup its right to collect rental income in the event of Debtor’s

default on the parties’ agreements.

         17.      To further secure the Senior Secured Loan Obligations, the Debtor entered into

various security and collateral documents pursuant to and in connection with the Senior Secured

Loan Agreement, including the Intercreditor Agreements (as defined below), pursuant to which

the Senior Secured Lender was granted the benefit of valid, binding, perfected, enforceable, first-

priority liens and security interests in the Senior Collateral (as defined below) (the “Senior

Secured Loan Liens”). The Senior Secured Loan Liens provide the Senior Secured Lender with

valid, binding, perfected, enforceable, first-priority liens, and security interests in the Collateral

(as defined in the Senior Secured Loan Agreement) (such Collateral, the “Senior Collateral”).4

         18.      As of the Petition Date, approximately $72,000,000 is outstanding under the

Senior Secured Loan Agreement, exclusive of accrued but unpaid interest.

                  (ii) Pre-Petition Loan Agreement with GWB NMTC Investment Fund LLC
                       and GWB Leverage Lender, LLC

         19.      On December 26, 2013, GWB NMTC Investment Fund LLC (the “Funding

Borrower”) made investments in, and became the 99.99% member of, each of the Building

Lenders, each of which were formed for the purpose of making qualified low-income community

investments in connection with the New Markets Tax Credit Program (provided for in Section

45D of the Internal Revenue Code). The Building Lenders made Building Loans in the original



         4
           The Senior Secured Loan issued under the Senior Secured Loan Agreement, together with any ancillary
documents, security agreements, guarantees, pledge agreements and notes issued in connection therewith shall
collectively be referred to herein as, the “Senior Secured Loan Documents”.

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aggregate principal amount of up to $19,065,000 to the Debtor to finance the development of the

project.

         20.      A portion of the Building Loans was funded by Foodco, LLC (“Foodco”) to

Funding Borrower under that certain Senior Leverage Loan Agreement, dated as of December

26, 2013 (as amended, restated, supplemented, or modified from time to time, the “FoodCo

Loan Agreement,” and together with any ancillary documents, pledge agreements, guarantees,

and notes issued in connection therewith, collectively the “FoodCo Loan Documents”) in

respect of a loan (the “FoodCo Loan”) in the aggregate principal amount of not more than

$10,000,000 plus all accrued but unpaid interest, fees, expenses, and all other obligations

expressly provided for thereunder, or incurred in connection therewith (such obligations under

the FoodCo Loan and the FoodCo Loan Documents, the “FoodCo Loan Obligations”). The

FoodCo Loan was utilized by the Funding Borrower to indirectly fund $10,000,000 of the

Building Loans (such portion of the Building Loan, the “FoodCo Building Loan”, and such

obligations under the FoodCo Building Loan, the “FoodCo Building Loan Obligations”).

         21.      To secure the FoodCo Loan Obligations, the Funding Borrower entered into

various security and collateral documents pursuant to and in connection with the FoodCo Loan

Documents, pursuant to which FoodCo was granted or otherwise entitled to the benefit of a

valid, binding, perfected, enforceable, pledge of all of Funding Borrower’s assets, including all

of its non-managing membership interests in each of the Building Lenders (the “FoodCo Loan

Pledge”).      The FoodCo Loan Pledge provided FoodCo with a valid, binding, perfected,

enforceable, lien, security interest, and pledge of the Collateral (as defined in the FoodCo Loan

Agreement) (such Collateral, the “FoodCo Loan Collateral”).5


         5
          Upon the Debtor’s repayment of the FoodCo Building Loan Obligations to the Building Lenders, the
Building Lenders are required to dividend such proceeds to the Funding Borrower, who is required to repay the
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         22.      George Washington Bridge Bus Station and Infrastructure Development Fund,

Phase II, LLC (“EB-5 Member”) made member loans to GWB Leverage Lender, LLC

(the “Direct Lender”) pursuant to that certain Limited Liability Company Agreement of GWB

Leverage Lender, LLC, dated as of April 7, 2014, by and between EB-5 Member and GWB

Development Partners, LLC, in the maximum amount of $19,000,000 (the “EB-5 Loan”). With

the EB-5 Loan in place, the Direct Lender acquired from and was assigned all rights as lender of

the Foodco Loan, under which the Funding Borrower was indebted and liable to FoodCo.

         23.      In addition, with the EB-5 Loan in place, Direct Lender, under that certain Loan

Agreement, dated as of April 7, 2014 (as amended, restated, supplemented, or modified from

time to time, the “Direct Loan Agreement,” and together with any ancillary documents, pledge

agreements, guarantees, and notes issued in connection therewith, collectively the “Direct Loan

Documents”), made a loan (the “Direct Loan,” and collectively with the Senior Secured Loan

and the FoodCo Building Loan, the “Prepetition Senior Loans”) to the Debtor in the aggregate

principal amount of not less than $9,000,000 plus all accrued but unpaid interest (including at the

default rate, as applicable), fees, expenses, and all other obligations expressly provided for

thereunder, or incurred in connection therewith (such obligations under the Direct Loan and the

Direct     Loan Documents, the “Direct Loan Obligations” and collectively with the Senior

Secured Loan Obligations and the FoodCo Building Loan Obligations, the “Prepetition Senior

Loan Obligations”).

         24.      Accordingly, as of Petition Date, the Debtor was indebted and liable to the

Building Lenders in respect of the Building Loans issued under the Building Loan Agreement

(together with any ancillary documents, security agreements, guarantees, pledge agreements and

FoodCo Loan to the Direct Lender (the Direct Lender collectively with the Senior Secured Lenders and the lenders
to the FoodCo Building Loan, the “Senior Loan Parties”).

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notes issued in connection therewith, collectively, the “Building Loan Documents” and,

together with the Senior Secured Loan Documents, the UMEZ Loan Documents (as defined

below), and the Intercreditor Agreements (as defined below), the “Prepetition Secured Credit

Documents”) in the aggregate principal amount of not less than $19,065,000 plus all accrued but

unpaid interest, fees, expenses, and all other obligations expressly provided for thereunder, or

incurred in connection therewith (such obligations under the Building Loan and the Building

Loan Documents, the “Building Loan Obligations”), and in accordance with the Intercreditor

Agreements, the Building Lenders are subordinated in right of payment to the prior payment in

full of (i) the Senior Secured Loan, (ii) the Direct Loan, and (iii) the UMEZ Loan (as defined

below), other than in respect of the FoodCo Building Loan, which shall be paid in full before any

repayment on account of the UMEZ Loan.

         25.      To secure $5,000,000 (plus interest thereon and any and all fees with respect

thereto) of Building Loan Obligations (the “Building Secured Loan Obligations,” and, together

with the Senior Secured Loan Obligations and the UMEZ Loan Obligations, the “Prepetition

Secured Debt”), the Debtor entered into various security and collateral documents pursuant to

and in connection with the Building Loan Documents pursuant to which the Building Secured

Lender (but not the other Building Lenders) was granted or otherwise entitled to the benefit of a

valid, binding, perfected, enforceable, mortgage (the “Building Loan Mortgage” and, together

with the Senior Secured Loan Liens and the UMEZ Mortgage (as defined below),

the “Prepetition Liens”) in the Mortgaged Property (such Mortgaged Property, the “Building

Loan Collateral,” and collectively with the Senior Collateral and the UMEZ Loan Collateral,

the “Prepetition Collateral”). The Building Loan Mortgage provides the Building Secured

Lender with valid, binding, perfected, enforceable, liens, and security interests in the Building


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Loan Collateral that are (i) not subject to avoidance, recharacterization, subordination, recovery,

attack, effect, counterclaim, defense, or claim under the Bankruptcy Code or applicable non-

bankruptcy law and (ii) as of the Petition Date, are subject and subordinate only to certain valid,

perfected, and unavoidable liens, including the Senior Secured Loan Liens, which are senior to

the liens of the Building Secured Lender on the Building Loan Collateral.

         26.      A diagram of the New Markets Tax Credit Program financing and EB-5

investment structure, as well as the flow of the Building Loans and Direct Loan is attached

hereto as Exhibit E.

         27.      As of the Petition Date, approximately $19,065,000.00 is outstanding under the

Building Loans, exclusive of accrued but unpaid interest. As of the Petition Date, approximately

$9,000,000.00 is outstanding under the Direct Loan, exclusive of accrued but unpaid interest.

                  (iii) Pre-Petition Loan Agreement with Upper Manhattan Empowerment
                        Zone Development Corporation

         28.      Before the Petition Date, the Debtor was indebted and liable to UMEZ in respect

of the UMEZ Loan issued under the UMEZ Loan Agreement (together with any ancillary

documents, security agreements, guarantees, pledge agreements and notes issued in connection

therewith, collectively, the “UMEZ Loan Documents”) in the aggregate principal amount of not

less than $5,000,000 plus all accrued but unpaid interest, fees, expenses, and all other obligations

expressly provided for thereunder, or incurred in connection therewith (such obligations under

the UMEZ Loan and the UMEZ Loan Documents, the “UMEZ Loan Obligations”), and in

accordance with the Intercreditor Agreement, UMEZ (subject to limited exclusions) is

subordinated in right of payment to the prior payment in full of the Prepetition Senior Loans.

         29.      To secure the UMEZ Loan Obligations, the Debtor entered into various security

and collateral documents pursuant to and in connection with the UMEZ Loan Documents,

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including the Intercreditor Agreement, pursuant to which UMEZ was granted or otherwise

entitled to the benefit of a valid, binding, perfected, enforceable, mortgage (the “UMEZ

Mortgage”) on the Mortgaged Property (as defined in the UMEZ Loan Agreement) (such

Mortgaged Property, the “UMEZ Loan Collateral”). The UMEZ Mortgage provides UMEZ

with a valid, binding, perfected, enforceable, mortgage on the UMEZ Loan Collateral that is

(i) not subject to avoidance, recharacterization, subordination, recovery, attack, effect,

counterclaim, defense, or claim under the Bankruptcy Code or applicable non-bankruptcy law

and (ii) as of the Petition Date is subject and subordinate only to certain valid, perfected, and

unavoidable liens, including the Senior Secured Loan Liens and the Building Loan Mortgage

(solely to the extent the Building Loan Mortgage applies to the FoodCo Building Loan

Obligations), which are senior to the liens of UMEZ on the UMEZ Loan Collateral.

         30.      As of the Petition Date, approximately $4.8 million is outstanding under the

UMEZ Loan Agreement, exclusive of accrued interest.

                  (iv) Intercreditor Arrangements

         31.      The Debtor, the Prepetition Secured Parties, the Direct Lender, and the Building

Lenders are subject to that certain Subordination and Intercreditor Agreement dated as of

February 27, 2018 (as amended, restated, supplemented or modified from time to time before the

date hereof, the “Intercreditor Agreement”), pursuant to which (i) the Prepetition Secured

Parties set forth the respective priorities of the Prepetition Liens on the Prepetition Collateral,

and (ii) the Prepetition Secured Parties, the Direct Lender, and the Building Lenders set forth the

priority of payment in respect of the Prepetition Secured Debt and the Building Loans. Pursuant

to the Intercreditor Agreement (x) any lien on the Prepetition Collateral securing the Senior

Secured Loan Obligations shall have priority over and be senior in all respects and before any

lien on the Prepetition Collateral securing any UMEZ Loan Obligations or Building Secured
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Loan Obligations and (y) any lien on the Prepetition Collateral securing the UMEZ Loan

Obligations shall have priority over and be senior in all respects and before any lien on the

Prepetition Collateral securing any Building Secured Loan Obligations (other than the liens

pertaining to the FoodCo Building Loan Obligations, which such FoodCo Building Loan

Obligations shall rank first and prior to the UMEZ Loan Obligations). Furthermore, pursuant to

the Intercreditor Agreement, the UMEZ Loan Obligations and the Building Loan Obligations are

subordinated in right of payment to the Prepetition Senior Loan Obligations.

         32.      The Prepetition Senior Secured Lender, the Direct Lender, and the Debtor are

subject to that certain Subordination and Intercreditor Agreement, dated as of February 27, 2018

(as amended, restated, supplemented or modified from time to time, the “Senior Intercreditor”),

pursuant to which the Direct Lender is payment and lien subordinated to the Senior Secured

Lender.

         33.      The Direct Lender and the Building Lenders are subject to that certain

Subordination and Intercreditor Agreement, dated as of April 7, 2014 (as amended, restated,

supplemented or modified from time to time, the “Direct Loan Intercreditor”), pursuant to

which the Building Loan Obligations, including the Secured Building Loan Obligations, are lien

and payment subordinated in all respects to the Direct Loan Obligations.

         34.      The Senior Secured Lender and the Building Lenders are subject to that certain

Subordination and Intercreditor Agreement, dated as of December 26, 2013 (as amended,

restated, supplemented or modified from time to time, the “Building Loan Intercreditor”, and

collectively with the Senior Intercreditor, the Direct Loan Intercreditor, and the Intercreditor

Agreement, the “Intercreditor Agreements”), pursuant to which the Building Loan Obligations,




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including the Secured Building Loan Obligations, are lien and payment subordinated in all

respects to the Senior Secured Loan Obligations.

         C.       The Debtor’s Need to Use Cash Collateral and Access DIP Financing

         35.      The Debtor requires immediate access to liquidity to ensure that it is able to

continue operating during this Chapter 11 Case and preserve the value of its assets and estate for

the benefit of all parties-in-interest. Absent immediate access to the DIP Financing and use of

Cash Collateral, the Debtor simply cannot continue operations. Without immediate access to the

DIP Financing and Cash Collateral, the Debtor will be unable to (a) pay for necessary business

expenses, including the invoices of vendors critical to business operations such as, among others

station security services, elevator and escalator maintenance and repair, insurance providers, and

station janitorial services; (b) preserve and maximize the value of its estate; and (c) administer

this Chapter 11 Case; causing immediate and irreparable harm to the value of the Debtor’s estate

to the detriment of all stakeholders. Moreover, DIP Financing and use of Cash Collateral are

necessary to provide vendors with the comfort level that the Debtor can continue to operate and

pay its ordinary course vendors, which is particularly important given vendor concerns regarding

the Debtor’s current financial situation and the Debtor’s intention to market and sell substantially

all of its assets during this Chapter 11 Case.

         36.      In connection with its liquidity situation and the prospect of a chapter 11 filing,

the Debtor, with the assistance of its advisors analyzed the projected cash needs and prepared the

Approved Budget outlining the Debtor’s post-petition cash needs during this Chapter 11 Case.

The Debtor believes that the Approved Budget and its projections provide an accurate reflection

of the funding requirements for this Chapter 11 Case, will allow the Debtor to meet its

obligations, and are reasonable and appropriate under the circumstances.


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         37.      The Debtor relied on these forecasts to determine the amount of post-petition

financing required to administer this Chapter 11 Case. Access to the post-petition financing

provided by the DIP Facility is critical to the Debtor’s ability to smoothly enter Chapter 11 and

operate post-petition, including by providing sufficient liquidity to fund the administrative cost

of this Chapter 11 Case. As a result, the Debtor believes that the DIP Facility will provide it

with sufficient liquidity to stabilize operations and fund this Chapter 11 Case, while the Debtor

pursues a sale transaction.

         D.       Alternative Sources of Financing Are Not Readily Available

         38.      The Debtor does not have alternative sources of financing available. Substantially

all of the Debtor’s assets are encumbered under their existing capital structure, which, along with

the Debtor’s constrained liquidity position, restricts the availability of, and options for, post-

petition financing.

         39.      Any financing proposals from third-parties would undoubtedly request a

“priming” DIP facility. Given the Prepetition Secured Parties would not allow a “priming” DIP

facility, the only logical course of action is to obtain a DIP from the existing lenders in the

capital structure.       The Debtor therefore focused its efforts on the DIP financing proposal

provided by the Senior Secured Lender.

         40.      The Debtor and its advisors negotiated for approximately two months regarding

the structure and economics of the proposed DIP Facility. Ultimately, the Debtor and the Senior

Secured Lender agreed to a set of terms that provide the Debtor with necessary access to

liquidity during the pendency of this Chapter 11 Case at fees and rates that the Debtor and its

advisors consider to be reasonable under the current circumstances. Those terms provide the

Debtor with the much-needed liquidity to fund operations and a sale of substantially all of its

assets. Based on the DIP Facility’s terms and the related benefits provided by the Senior
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Secured Lender, the Debtor determined that entry into the DIP Facility is reasonable, fair, and in

the best interests of its estate.

         E.       The Debtor Should Be Authorized to Utilize Rent Proceeds and DIP
                  Proceeds to Fund Operations Irrespective of any Purported Prepetition
                  Attachment Order

         41.      In January 2017 the Debtor initiated an arbitration against Tutor Perini Building

Corp. (“Tutor Perini”) in connection with its work as the general contractor on the project.

Tutor Perini subsequently filed a counterclaim against the Debtor seeking damages.             See

generally Tutor Perini Building Corp. v. George Washington Bridge Bus Station Development

Venture, LLC, Case No. 1:19-cv-05344-RA (“SDNY Action”). In June 2019, Tutor Perini

sought an order of attachment, seeking to attach $23 million of the Debtor’s funds.

         42.      On June 4, 2019, the American Arbitration Association panel (the “Panel”) in that

certain action styled George Washington Bridge Bus Station Development Venture, LLC v. Tutor

Perini Building Corp., Case No. 01-15-0002-7887, issued an interim order for the attachment of

certain property of the Debtor (the “Interim Attachment Order”). Specifically, the Panel

ordered, “attachment of Twenty Three Million Dollars ($23,000,000.00) of any EB5 funds, funds

paid by the Port Authority and/or new lease payments in the possession of the [the Debtor].

Without depletion of said funds, the [the Debtor] shall disclose the location of such funds within

(10) days from the date of entry of this Order.” On June 6, 2019, Tutor Perini filed a petition to

confirm the Interim Attachment Order in the United States District Court for the Southern

District of New York. The Debtor, in turn, filed a cross-motion to vacate the Interim Attachment

Order. On July 15, 2019, the District Court entered an order granting Tutor Perini’s petition to

confirm the Interim Attachment Order and denying the Debtor’s cross-motion. On July 22, 2019,

the District Court entered a judgment to that effect in favor of Tutor Perini.


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         43.      On July 19, 2019, Senior Secured Lender filed a foreclosure action (New York

County, Index No. 850155/2019) on the Debtor’s leasehold interest. As set forth above, Senior

Secured Lender is, under the Senior Secured Loan Agreement, the senior secured lender to the

Debtor, and maintains a first-priority, perfected interest in the leasehold mortgage securing the

property that is the subject of the foreclosure. Furthermore, pursuant to the ALR between the

Debtor and Senior Secured Lender, the Debtor made a present assignment of the leases and rents.

Following the Debtor’s defaults under and pursuant to the Senior Secured Loan Agreement and

the ALR, on July 20, 2019, Senior Secured Lender revoked the Debtor’s license to collect rents

under the leasehold mortgage and ALR. The Debtor’s right to collect rents was therefore

terminated and all monies received constituting rents are the property of Senior Secured Lender

as of July 20, 2019.

         44.      The Debtor complied with the revocation by directing all tenants to convey rents

directly to the Senior Secured Lender, and as of the Petition Date, a majority of the tenants pay

rents directly to the Senior Secured Lender. Since the commencement of the foreclosure action,

the Debtor has also taken rents tenants have conveyed to the Debtor and turned those rents over

to the Senior Secured Lender. Nevertheless, certain tenants improperly paid amounts of rent

during the month of September and October 2019 to the Debtor instead of to the Senior Secured

Lender in the amount of approximately $350,000. Between October 4, 2019 and October 7,

2019, the Debtor, with the consent of the Senior Secured Lender, utilized those funds to pay

necessary prepetition expenses. Subject to those amounts, as of the Petition Date, the Senior

Secured Lender is the recipient of all rents that emanate from the project.

         45.      On August 21, 2019, Tutor Perini submitted a letter motion to the District Court

in which it sought to amend and expand the confirmation of the Interim Attachment Order. This


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letter improperly misrepresented the reach of the Interim Attachment Order as follows: “The

Arbitrators’ Interim Order of Attachment granted Tutor Perini a right of attachment to the assets

of Respondent DV, including any and all ‘EB5’ funds paid to or due DV, funds received by DV

from the Port Authority of New York and New Jersey, and the leasehold interest in, and rental

income generated by, the ground lease granted to DV, as lessee, of the real property known

and described as 4200-4218 Broadway a/k/a 110-110 Wadsworth Avenue a/k/a 651-66 West

178th Street a/k/a 650-664 West 179th Street, Section 8, Block 2163, Lot 1, and Block 2176,

Lot 17, as shown on the Land and Tax Map of the County of New York (the “Leasehold

Premises”), up to a total amount of Twenty Three Million Dollars ($23,000,000), and further

ordered DV to disclose the location of such funds or the disposition thereof within ten (10) days

of the date of entry hereof.” (emphasis added).

         46.      A telephonic conference call was held with the Court on September 4, 2019.

During that call, the Court agreed that Tutor Perini was attempting to make substantive changes

to the Interim Attachment Order and directed the parties to return to the arbitration.

         47.      An in-person hearing was held before the Panel on September 6, 2019, where the

Debtor presented Mr. Stephen Winiarski and evidence related to the Debtor’s finances. The

testimony and documents confirmed that since the initiation of the July 19, 2019 foreclosure

action, the Senior Secured Lender had revoked the Debtor’s license to accept rents from the

leasehold tenants.

         48.      Most recently, on September 24, 2019, the Panel conducted oral argument on the

issue of whether the Interim Attachment Order can affect the rights of third parties such as the

Senior Secured Lender that are not a part of the arbitration proceeding. On October 3, 2019, the

Panel issued an Order, which held the following:


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                  (i)      The Debtor willfully violated the Panel’s Interim Attachment Order;

                  (ii)     The Debtor transferred funds subject to the Interim Attachment Order for
                           the payment of personal expenses of one of its principals and for the
                           payment of legal expenses; and

                  (iii)    The Debtor wrongfully transferred net rental income received to the
                           Senior Secured Lender.

         49.      The Panel has ordered all of the aforementioned transfers, among others, be

returned to the Debtor’s operating account by November 1, 2019. The Debtor vehemently

disagrees with the Panel’s Order dated October 3, 2019.

         50.      The Debtor may continue to receive rent from certain tenants that mistakenly do

not send such rent to the Senior Secured Lender. The Debtor is seeking authority to use such

proceeds (subject to the terms of the Financing Orders) as well the proceeds of the DIP Facility,

to continue to pay necessary expenses of the Debtor in accordance with the Approved Budget.

                                  BASIS FOR RELIEF REQUESTED

         A.       The Debtor Should Be Authorized to Use Cash Collateral

         51.      Section 363 of the Bankruptcy Code generally governs the use of estate property

and permits a debtor in possession to use cash collateral with the consent of the secured party.

11 U.S.C. § 363(c). Specifically, section 363(c)(2) of the Bankruptcy Code provides that the

Debtors may not use, sell or lease cash collateral unless “(A) each entity that has an interest in

such cash collateral consents; or (B) the court, after notice and hearing, authorizes such use, sale,

or lease in accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2). Therefore, the

Debtor may not use the Cash Collateral without the consent of the Prepetition Secured Parties or

authority granted by the Court. Further, section 363(e) of the Bankruptcy Code provides that on

request of an entity that has an interest in property to be used by a debtor, the Court shall prohibit




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or condition such use as necessary to provide adequate protection of such interest. 11 U.S.C. §

363(e).

          52.     In this Chapter 11 Case, the Debtor requires use of Cash Collateral to (a) pay

vendors necessary to maintain business operations consistent with pre-petition practices; (b) pay

certain pre-petition obligations as further described in the Debtor’s “first day” motions; and (c)

otherwise pay disbursements as set forth in and pursuant to the Budget. The Prepetition Secured

Parties have consented to the use of the Cash Collateral pursuant to the Budget and under the

proposed Interim Order. In addition, the Debtor submits that the adequate protection to be

provided to the Prepetition Secured Parties, as detailed herein, is sufficient to approve the use of

the Cash Collateral under section 363 of the Bankruptcy Code.

          53.     Accordingly, based upon the foregoing, the Debtor respectfully requests that the

Court authorize the Debtor to use the Cash Collateral in accordance with the terms set forth in

the Interim Order.

          B.      Entry into the DIP Facility Is a Sound Exercise of the Debtor’s Business
                  Judgment

          54.     Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured or

superpriority financing under certain circumstances. When reviewing a motion to obtain credit,

courts grant a debtor considerable deference in acting in accordance with its sound business

judgment. See In re Republic Airways Holding, Inc., Case No. 16-10429 (SHL), 2016 WL

2616717, at *11 (Bankr. S.D.N.Y. May 4, 2016) (“[i]n determining whether to authorize post-

petition financing, bankruptcy courts will generally defer to the debtor’s business judgment”); In

re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[T]he court’s discretion

under section 364 is to be utilized on grounds that permit reasonable business judgment to be

exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

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process and powers or its purpose is not so much to benefit the estate as it is to benefit a

party-in-interest.”).      Furthermore, in determining whether the Debtor has exercised sound

business judgment in deciding to enter into the DIP Loan Documents, the Court may

appropriately take into consideration certain non-economic benefits to the Debtor offered by a

proposed post-petition facility.

         55.      For example, in In re ION Media Networks, Inc., the Bankruptcy Court held that:

                  Although all parties, including the Debtors and the Committee, are
                  naturally motivated to obtain financing on the best possible terms,
                  a business decision to obtain credit from a particular lender is
                  almost never based purely on economic terms. Relevant features
                  of the financing must be evaluated, including noneconomic
                  elements such as the timing and certainty of closing, the impact on
                  creditor constituencies and the likelihood of a successful
                  reorganization. This is particularly true in a bankruptcy setting
                  where cooperation and establishing allegiances with creditor
                  groups can be a vital part of building support for a restructuring
                  that ultimately may lead to a confirmable reorganization plan. That
                  which helps foster consensus may be preferable to a notionally
                  better transaction that carries the risk of promoting unwanted
                  conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).

         56.      The In re ION Media Networks, Inc. decision is informative here. The DIP

Facility represents a resolution between the Debtor and the Senior Secured Lender. Following

negotiations, the parties were able to come to a resolution not only on economic terms, but also

achieved a resolution regarding case milestones and controls that provide the Debtor with

flexibility to ensure it maintains a value-maximizing marketing process. The Debtor’s access to

the DIP Facility preserves value as a going concern, ensures stability for a potential marketing

process, and provides much needed liquidity to pursue a sale and/or plan of reorganization.

         57.      Based on the facts and circumstances present in this Chapter 11 Case, it is clear

that the proposed DIP Facility represents a proper exercise of the Debtor’s business judgment.

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See In re MSR Hotels & Resorts, Inc., Case No. 13-11512 (SHL), 2013 WL 5716897, at *23

(Bankr. S.D.N.Y. Oct. 1, 2013).          Bankruptcy courts routinely defer to a debtor’s business

judgment on most business decisions, including the decision to borrow money. See In re Ames

Dep’t Stores, Inc., 115 B.R. at 38 (courts should approve borrowings pursuant to section 364(c)

and 364(d) of the Bankruptcy Code if the debtor was within its business judgment); see also In

re Barbara K. Enterprises, Inc., Case No. 08-11474 (MG), 2008 WL 2439649, at *8 (Bankr.

S.D.N.Y. June 16, 2008). To determine whether the business judgment test is met, the court “is

required to examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs, Inc., 340 B.R. 222, 239 (Bankr. D. Del. 2006).

         58.      Here, the Debtor has exercised sound business judgment in determining that the

DIP Facility is appropriate and have satisfied the legal requirements to obtain the proposed DIP

Facility. The Debtor’s decision to obtain the DIP Facility is reasonable under the circumstances,

given there was no other financing available on superior terms and the Debtor requires an

infusion of liquidity to operate and administer this Chapter 11 Case. Further, the Debtor heavily

negotiated the terms of the DIP Facility, which is being made available on reasonable economic

terms. Therefore, the Debtor has demonstrated sound business judgment and should be granted

authority to enter into the DIP Facility on the terms described herein.




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         C.       The Debtor Should Be Authorized To Obtain Post-Petition Financing On A
                  Senior Secured Superpriority Basis

         59.      The Debtor seeks to obtain financing under the DIP Credit Agreement by

providing security interests and liens pursuant to Section 364(c) of the Bankruptcy Code.

         60.      Section 364(c) provides as follows:

                  (i)      If the trustee is unable to obtain unsecured credit allowable under section
                           503(b)(1) of this title as an administrative expense, the court, after notice
                           and a hearing, may authorize the obtaining of credit or the incurring of
                           debt —

                                  (a)     with priority over any or all administrative expenses of the
                                          kind specified in section 503(b) or 507(b) of this title;

                                  (b)     secured by a lien on property of the estate that is not
                                          otherwise subject to a lien; or

                                  (c)     secured by a junior lien on property of the estate that is
                                          subject to a lien.

11 U.S.C. § 364(c).

         61.      Courts have articulated a three-part test to determine whether a debtor is entitled

to financing under Section 364(c) of the Bankruptcy Code. More specifically, courts analyze

whether:

                  (i)      the debtor cannot obtain credit unencumbered or without superpriority
                           status;

                  (ii)     the credit transactions are necessary to preserve assets of the estate; and

                  (iii)    the terms of the credit agreements are fair, reasonable and adequate.

See In re Barbara K. Enters., Inc., 2008 WL 2439649, at *10.

         62.      In addition, Section 364(d) of the Bankruptcy Code provides that a debtor may

obtain credit secured by a senior or equal lien on property of the estate already subject to a lien,

after notice and a hearing, where (A) the debtor “is unable to obtain such credit otherwise,” and

(B) “there is adequate protection of the interest of the holder of the lien on the property of the

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estate on which such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1); see

also In re Republic Airways Holding, Inc., 2016 WL 2616717, at *11.

         63.      Section 364(d) “does not require that debtors seek alternative financing from

every possible lender. However, the debtor must make an effort to obtain credit without priming

a senior lien.” See In re 495 Central Park Ave. Corp., 136 B.R. 626, 630–31 (Bankr. S.D.N.Y.

1992). Additionally, Section 364(d)(1) requires the debtor to show that the interests of the

holder of the lien that is being primed are adequately protected. See id. at 631.

         64.      The focus of a bankruptcy court’s approval of a financing agreement on a priming

secured basis is whether the transaction would enhance the value of the debtor’s assets. Courts

advocate using a “holistic approach” to evaluate post-petition financing agreements that focus on

the transaction as a whole, not just on the priming of liens. As one court has noted:

                  [o]btaining credit should be permitted not only because it is not
                  available elsewhere, which could suggest the unsoundness of the
                  basis for use of the funds generated by credit, but also because the
                  credit acquired is of significant benefit to the debtor’s estate and
                  that the terms of the proposed loan are within the bounds of reason,
                  irrespective of the inability of the debtor to obtain comparable
                  credit elsewhere.

In re Aqua Assocs., 123 B.R. 192, 196 (Bankr. E.D. Pa. 1991).

         65.      In furtherance of this approach, courts consider a number of factors, including: (1)

whether the proposed financing is an exercise of sound and reasonable business judgment; (2)

whether alternative financing is available on any other basis; (3) whether the proposed financing

is in best interest of the estate and its creditors; (4) whether any better offers, bids, or timely

proposals are before the court; (5) whether the proposed financing is necessary to preserve the

assets of the estate, and is necessary, essential and appropriate for the continued operation of the

debtor's business; (6) whether the terms of proposed financing are fair, reasonable and adequate,

given the circumstances of the debtor-borrower and the proposed lender; and (7) whether the
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financing agreement was negotiated in good faith and at arm's length between debtor and

proposed lender. In re Farmland Indus., Inc., 294 B.R. 855, 880 (Bankr. W.D. Mo. 2003).

         66.      Here, for the reasons that follow, the Debtor satisfies the requirements of Section

364 of the Bankruptcy Code to obtain post-petition financing on a superpriority basis. First, the

Debtor is unable to obtain debtor-in-possession financing without providing a superpriority claim

and priming liens. As set forth in the Katz Declaration, the Debtor has made reasonable efforts

to obtain financing on the best terms available in light of its current situation. All of the Debtor’s

existing assets are fully encumbered, and any workable financing will require the support of, or

must be provided by, the Debtor’s existing lender group. Despite meaningful efforts, the Debtor

has been unable to obtain post-petition financing from any alterative prospective lender on more

favorable terms and conditions than those for which approval is sought herein. Under the

proposed financing, the DIP Lender has agreed to prime its own pre-petition collateral,

eliminating many of the concerns applicable in contested priming cases.

         67.      Section 364 of the Bankruptcy Code does not require that a debtor seek

alternative financing from every possible lender. See In re 495 Central Park Ave. Corp., 136

B.R. at 630–31. Rather, the debtor simply must demonstrate sufficient efforts to obtain financing

without the need to grant a senior lien. Id.; see also In re Aqua Assocs., 123 B.R. at 195

(“Section 364(d)(1)(A) seemingly requires only a showing that the Debtor has attempted

unsuccessfully to obtain credit on better terms from other sources.”); In re Ames Dep’t Stores,

Inc., 115 B.R. at 37.

         68.      Second, it is critical that the Debtor obtains access to Cash Collateral and DIP

financing in order to continue operating in the ordinary course of business. As described above,

the Debtor requires the DIP Facility to pay its ongoing business expenses and to conduct a sale


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process. Without immediate access to Cash Collateral, and the right to access the liquidity under

the DIP Facility, the Debtor’s assets would be placed in a perilous position, to the detriment of

all stakeholders.

         69.      Third, the proposed DIP Facility subjects the security interests of the DIP Lender

to a Carve-Out.          Such “carve outs” for professional fees have been found to be not only

reasonable but necessary to ensure that debtors’ estates will be assured of the assistance of

counsel and other bankruptcy professionals. See In re Ames Dep’t Stores, Inc., 115 B.R. at 38.

Here, the DIP Facility does not directly or indirectly deprive the Debtor’s estate of possible

rights and powers by restricting the services for which professionals may be paid in this case. Id.

(noting that courts insist on carve-outs for professionals representing parties in the case because

“absent such protection, the collective rights and expectation of all parties in interest are solely

prejudiced”).

         70.      The Debtor submits that the terms of the DIP Credit Agreement are fair and

reasonable in light of the Debtor’s current situation and are in the best interests of the Debtor’s

estate. The terms of the DIP Facility were negotiated by the parties each represented by

experienced restructuring counsel in good faith and at arm’s length. Therefore, the terms of the

DIP Facility are reasonable and appropriate under the circumstances, and in the best interest of

stakeholders.

         71.      Finally, the Prepetition Secured Parties are adequately protected, and consenting

to the proposed use of Cash Collateral. Adequate protection may be provided in various forms,

including payment of adequate protection fees and interest, or granting of replacement liens or

administrative claims. What constitutes adequate protection is decided on a case-by-case basis.

See, e.g., In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“[t]he determination of


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adequate protection is a fact specific inquiry . . . left to the vagaries of each case”); In re Beker

Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (the application of adequate protection is

case specific, but “its focus is protection of the secured creditor from diminution in the value of

its collateral during the reorganization process”). The purpose of adequate protection is to

protect against the diminution of a secured creditor’s collateral during the period when such

collateral is being used by the debtor. See In re 495 Central Park Ave. Corp., 136 B.R. at 631

(“The goal of adequate protection is to safeguard the secured creditor from diminution in the

value of its interest during the Chapter 11 reorganization.”); In re Beker Indus. Corp., 58 B.R. at

736.

         72.      The DIP Facility provides the Prepetition Secured Parties with adequate

protection in the form of a superpriority claim status, replacement liens on all DIP Collateral,

junior only to the liens of the DIP Lender and prior senior liens. This adequate protection

appropriately safeguards the Prepetition Secured Parties from the diminution in the value of their

interests in the Cash Collateral, and, as such, is fair and reasonable and satisfies the requirements

of Section 364 of the Bankruptcy Code.

         E.       The Debtor Should Be Authorized to Provide Adequate Protection to the
                  Prepetition Secured Parties

         73.      Section 361 of the Bankruptcy Code governs adequate protection and states that

the Debtor may provide adequate protection by making a cash payment or periodic cash

payments “to such entity, to the extent that . . . any grant of a lien under section 364 of this title

results in a decrease in the value of such entity’s interest in such property.” 11 U.S.C. § 361(1).

Adequate protection may also be provided by granting to such entity an additional or

replacement lien to the extent that such stay, use, sale, lease, or grant results in a decrease in the

value of such entity’s interest in such property. 11 U.S.C. § 361(2).

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         74.      The Debtor requests that the Court approve certain protections in favor of the

Prepetition Secured Parties to protect against any diminution in value resulting from (i) the use,

sale, or lease of the Prepetition Collateral, including the Cash Collateral, (ii) the priming of their

security interests and liens in the applicable Prepetition Collateral, and (iii) the imposition of the

automatic stay pursuant to Section 362 of the Bankruptcy Code. Such protections include:

                  (i)      superpriority claim status under section 507(b) of the Bankruptcy Code;

                  (ii)     replacement liens on all DIP Collateral, junior only to the liens of the DIP
                           Lender, but subject to any prior Senior Liens;

                  (iii)    payment of all fees, expenses, and disbursements to the Senior Secured
                           Lender; and

                  (iv)     information and financial reporting to the Senior Secured Lender.

         75.      The Debtor submits that the proposed Adequate Protection for the Prepetition

Secured Parties is appropriate to protect the Prepetition Secured Parties from any diminution in

the value of their interest in the Prepetition Collateral. Moreover, the Prepetition Secured Parties

have consented to the Debtor’s proposed adequate protection as sufficient to protect against any

diminution in the value of the Prepetition Collateral.

         F.       The DIP Lender is Entitled to the Protections under Section 364(e) of the
                  Bankruptcy Code

         76.      Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. More specifically, Section 364(e) provides that:

                  The reversal or modification on appeal of an authorization under
                  this section [364 of the Bankruptcy Code] to obtain credit or incur
                  debt, or of a grant under this section of a priority or a lien, does not
                  affect the validity of any debt so incurred, or any priority or lien so
                  granted, to an entity that extended such credit in good faith,
                  whether or not such entity knew of the pendency of the appeal,

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                  unless such authorization and the incurring of such debt, or the
                  granting of such priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

         77.      Because “good faith” is not defined in the Bankruptcy Code, courts often look to

case law under section 363(m). 7 COLLIER ON BANKRUPTCY, 16th ed. ¶ 364.08, (“Section 364(e)

is consistent with section 363(m), which provides similar protection to a buyer or lessee of

property of the estate in a section 363 transaction.”). As one court in this district explained, “the

misconduct that would destroy a purchaser’s good faith status at a judicial sale involves fraud,

collusion between the purchaser and other bidders or the trustee, or an attempt to take grossly

unfair advantage of other bidders.” In re Pan Am Corp., No. 91 CIV. 8319 (LMM), 1992 WL

154200, at *4 (S.D.N.Y. June 18, 1992) (citing In re Rock Indus. Mach. Corp., 572 F.2d 1195,

1198 (7th Cir. 1978)).

         78.      The terms of the DIP Facility were negotiated at arm’s length and in good faith

between the Debtor and the DIP Lender. Moreover, no consideration is being provided to any

party to, or guarantor of, obligations arising under the DIP Facility, other than as disclosed in the

DIP Credit Agreement. Finally, the DIP Facility has been extended in express reliance upon the

protections offered by Section 364(e) of the Bankruptcy Code. As such, the DIP Lender should

be entitled to the full protection of Section 364(e) in the event that the Interim Order is vacated,

reversed, or modified on appeal.

         G.       The DIP Facilities’ Fees Were Negotiated at Arms’ Length and in Good
                  Faith, and Should be Approved

         79.      The Debtor has agreed to pay certain fees described in the DIP Credit Agreement

as well as the reasonable costs and expenses of the DIP Lender. These fees and other obligations

under the DIP Credit Agreement were negotiated in good faith and at arms’ length and represent

the most favorable terms to the Debtor on which the DIP Lender would agree to fund the DIP
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Facility. The Debtor considered the fees when determining in its reasonable business judgment

that the DIP Facility constituted the best terms on which the Debtor could much needed

financing, and that paying these fees in order to obtain the DIP Facility is in the best interests of

the Debtor’s estate, creditors, and other stakeholders.

         80.      Accordingly, the Court should authorize the Debtor to pay the fees provided

under the DIP Credit Agreement in connection with entering into the DIP Credit Agreement.

         H.       The Interim Attachment Order and Other Orders of the Panel Cannot Affect
                  the Rights of Third Parties that are Not a Part of the Arbitration and Should
                  be Invalidated

         81.      The relief afforded by the Interim Attachment Order should be invalidated for

several reasons. First, on July 20, 2019, Senior Secured Lender revoked the Debtor’s license to

collect rents under the leasehold mortgage and the ALR. The Debtor’s right to collect rents was

therefore terminated and all monies received constituting rents are the property of Senior

Secured Lender as of July 20, 2019. See In re Soho Retail, LLC, Case No. 10-15114 (SHL),

2011 WL 1333084, at *6-8 (Bankr. S.D.N.Y. March 31, 2011) (the assignment of leases and

rents was absolute and unconditional and the lender took numerous affirmative steps to enforce it

rights and, as a result, the rents are not property of the estate). As a result, there is no rental

income that the Debtor possesses that could be subject to any order of attachment, especially

given the District Court did not enter an Order granting Tutor Perini’s petition confirming the

Interim Attachment Order until two days later on July 22, 2019 pursuant to Section 9 of the

Federal Arbitration Act, 9 U.S.C. § 9. A petition to confirm or vacate an arbitration award under

the FAA is “a summary proceeding that merely makes what is already a final arbitration award a

judgment of the court.” D.H Blair & Co. v. Gottdiener, 462 F.3d 95, 110 (2d Cir. 2006) (internal

quotation marks omitted). Given the Senior Secured Lender’s revocation prior to confirmation,

the Interim Attachment Order should be invalidated and of no import because any award by the
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Panel providing for attachment of rental income (and confirmed by the District Court) would

levy against Senior Secured Lender’s, and not the Debtor’s assets. See In re Soho Retail, LLC,

2011 WL 1333084, at *6-8.

         82.      Moreover, Tutor Perini, who holds an attachment interest, takes its interest subject

to the rights of others that may have a superior claim—i.e., Tutor Perini “steps into the shoes” of

the Debtor. In this case, Tutor Perini’s claim is subject and inferior to that of the Senior Secured

Lender, who holds a previously perfected senior secured interest in connection with the project

and funds at issue. For this reason alone, the attachment order simply cannot reach the rental

income or leasehold interest in the project. But beyond even this basic concept, further caselaw

confirms that with respect to attachment, Tutor Perini is affirmatively left without recourse

because the funds are the property of the Senior Secured Lender—a third-party that is not a part

of this arbitration and is therefore outside of the reach of the attachment order. To the extent the

Debtor holds any rental proceeds because they were improperly delivered to the Debtor by

tenants, those proceeds are the rightful property of the Senior Secured Lender and, therefore, not

subject to the Interim Attachment Order, because the Debtor is merely holding such proceeds in

trust for the Senior Secured Lender. Proceeds that are in the Senior Secured Lender’s possession

is automatically outside the Interim Attachment Order. Moreover, there are no “net lease

payments,” since all rental income has been used to pay for necessary operating expenses in

connection with the project.

         83.      The New York attachment statute itself does not “contemplate execution against

property that once belonged to the judgment creditor but now lawfully belongs to a third party.”

Exp.-Imp. Bank of the Republic of China v. Grenada, 768 F.3d 75, 87 (2d Cir. 2014); see also

Karaha Bodas Co. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara ("Pertamina"),


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313 F.3d 70, 83 (2d Cir. 2002) (“In New York, then, a party seeking to enforce a judgment

‘stand[s] in the shoes of the judgment debtor in relation to any debt owed him or a property

interest he may own.’ … Nonetheless, a party cannot ‘reach ... assets in which the judgment

debtor has no interest.’”) (internal citation omitted); Bass v. Bass, 140 A.D.2d 251, 253 (1st

Dep't 1988).

         84.      Any award by the Panel providing for the attachment of rental income would levy

against Senior Secured Lender’s, and not the Debtor’s assets. To the extent that Tutor Perini

argues that the attachment order should still reach the rental income or the leasehold interest, the

Panel is without power to extend the order in such a manner. Because the Senior Secured Lender

is not a party to the arbitration proceeding, an order that would impinge on its rights would run

afoul of the long-held rule of law that a third-party that is a non-signatory to an arbitration

agreement cannot be forced to arbitrate. See Tellium, Inc. v. Corning Inc., No. 03 CIV. 8487

(NRB), 2004 WL 307238, at *8 (S.D.N.Y. Feb. 13, 2004); see also Lindland v. U.S. Wrestling

Ass’n, Inc., 227 F.3d 1000, 1003 (7th Cir. 2000) (Where an arbitral award threatens the rights of

a non-party, the award is an ultra vires by the arbitrator and cannot be confirmed).

         85.      Importantly, the District Court has explained that only in limited circumstances

could a non-willing third-party be forced to arbitrate:

         Absent an express agreement to arbitrate, the Second Circuit has recognized only
         limited theories upon which it will enforce an arbitration agreement against a non-
         signatory. There are five such possible theories: “1) incorporation by reference; 2)
         assumption; 3) agency; 4) veil piercing/alter ego; and 5) estoppel.” Merrill Lynch,
         337 F.3d at 129. A willing signatory seeking to arbitrate with a non-signatory that
         is unwilling must establish at least one of these five bases. See id. at 131 (citing
         Smith/Enron Cogeneration Ltd. P'ship, Inc. v. Smith Cogeneration Int'l, Inc., 198
         F.3d 88, 97 (2d Cir.1999)). The party seeking to compel arbitration has the burden
         of demonstrating by a preponderance of the evidence the existence of an
         agreement to arbitrate. See Progressive Cas. v. C.A. Reaseguradora Nacional,
         991 F.2d 42, 46 (2d Cir.1993).


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Tellium, supra, 2004 WL 307238, at *5.

         86.      None of these five exceptions are present in this matter and it is clear that the

Senior Secured Lender is unwilling to participate in the arbitration. In addition to the Senior

Secured Lender, an extension of the Interim Attachment Order to the leasehold interest in the

premises would also impinge upon the rights of the Port Authority. The lease is a central part of

a high-profile public project. The leasehold interest cannot be transferred to Tutor Perini in any

way, let alone through a prejudgment attachment order entered in an arbitration that does not

involve the Port Authority itself.

         87.      To the extent Tutor Perini claims that it is entitled to rental income pursuant to an

equitable mechanic’s lien for construction at the subject property, its arguments lack merit and

do not establish that it holds an equitable lien against the Debtor. The subject property is

publicly owned by the Port Authority. Mechanic’s liens against publicly-owned real property are

prohibited by statutory authority and case law. See, e.g., N.Y. Lien Law § 2(8) (McKinney)

(prohibiting liens against real property belonging to the state or a public benefit corporation);

Paerdegat Boat & Racquet Club, Inc. v. Zarelli, 57 N.Y.2d 966 (1982) (holding that the statutory

prohibition against liens on property belonging to the State, applies equally to municipal property

used for public purposes and a lease of municipal property for nonpublic purposes); George

Washington Bridge Bus Station Development Venture, LLC v. Associated Specialty Contracting,

Inc., 149 A.D. 3d 525 (1st Dep’t 2017) (rejecting enforcement of a lien against the exact same

property at issue in this case, finding that “[i]t is well-settled that a private mechanic’s lien may

not attach to privately-leased, but publicly-owned, land.”).

         88.      For these additional reasons, it is respectfully submitted that the Interim

Attachment Order does not reach the rental income and cannot be extended to reach any aspect


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of the leasehold interest in the property, because such a result would impinge upon the rights of

third-parties that are not subject to this litigation. The Senior Secured Lender has permitted the

Debtor to use rents to fund operating expenses pursuant to the Approved Budget, provided that

such rents shall first be applied to reduce the Senior Secured Loan Obligations (applied as

provided for in the proposed Interim DIP Order) and then be deemed, dollar-for-dollar, DIP

Obligations under the DIP Facility. The Debtor should be authorized to utilize all DIP financing

proceeds to pay necessary and critical operating expenses, and the Debtor’s prepetition use of

approximately $350,000 of rent proceeds to pay necessary expenses should be found to be valid

and appropriate. Further, under the DIP Facility, to the extent the Senior Secured Lender’s

ability to collect rents or exercise their rights under the ALR is invalidated, the DIP Lender

would have a right to terminate the DIP Credit Agreement, which would leave the Debtor

without funding to finance its chapter 11 case.

         89.      Accordingly, the Debtor’s request to invalidate the Interim Attachment Order and

Order of the Panel dated October 3, 2019, and enter the Financing Orders authorizing the Debtor

to use rent it receives as well as the DIP proceeds in the ordinary course (in accordance with the

Approved Budget), is in the best interest of the estate and should be approved.

         I.       Modification of the Automatic Stay Should be Authorized

         90.      The DIP Credit Agreement and the proposed Interim Order contemplates that the

automatic stay arising under Section 362 of the Bankruptcy Code shall be vacated or modified to

permit the DIP Lender to enforce its rights under the DIP Documents and the proposed Interim

Order. Specifically, upon the occurrence and during the continuance of any Event of Default, the

Debtor has agreed that the DIP Lender may, notwithstanding the automatic stay under Section

362 of the Bankruptcy Code (which automatic stay shall be automatically terminated without

further notice or order of the Bankruptcy Court) take such action, without notice or demand, as it
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deems advisable to protect and enforce its rights against the Debtor and in and to the DIP

Collateral. Moreover, the automatic stay provisions of section 362 of the Bankruptcy Code are

modified to the extent necessary to permit the DIP Lender to enforce all of its rights under the

DIP Documents and (i) immediately upon the occurrence of an Event of Default, declare (A) the

termination, reduction or restriction of any further DIP Commitment to the extent any such DIP

Commitment remains and (B) all Secured Obligations to be immediately due and payable,

without presentment, demand, protest, or other notice of any kind, all of which are expressly

waived by the Borrower and (ii) upon the occurrence of an Event of Default and the giving of

seven (7) days’ prior written notice (which shall run concurrently with any notice required to be

provided under the DIP Documents) via email to counsel to the Debtor, counsel to the Creditors’

Committee, and the U.S. Trustee to (A) withdraw consent to the Borrower’s continued use of

Cash Collateral and (B) exercise all other rights and remedies provided for in the DIP

Documents and under applicable law.              In any hearing regarding any exercise of rights or

remedies under the DIP Documents, the only issue that may be raised by the Debtor and the

Prepetition Secured Parties in opposition thereto shall be whether, in fact, an Event of Default

has occurred and is continuing. See DIP Credit Agreement, § 7.02; Interim Order, ¶ 12(d).

         91.      The Debtor believes that this seven (7) days’ prior written notice period will

provide the Debtor and other parties-in-interest with sufficient time to seek an expedited hearing

before the Court for the purpose of determining whether, in fact, an Event of Default has

occurred. Stay modification provisions are ordinary features of debtor in possession financing

facilities and, in the Debtor’s business judgment, this modification is reasonable under the

circumstances.

         J.       Failure to Obtain Immediate Access to DIP Financing and Cash Collateral
                  Would Cause Immediate and Irreparable Harm

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         92.      Bankruptcy Rules 4001(b) and (c) provide that a final hearing on a motion to use

cash collateral pursuant to Section 363 of the Bankruptcy and to obtain credit pursuant to Section

364 of the Bankruptcy Code may not be commenced earlier than fourteen (14) days after the

service of such motion. Upon request, however, pursuant to Bankruptcy Rules 4001(b) and (c)

and Local Bankruptcy Rule 4001-2, the Court is empowered to conduct a preliminary expedited

hearing on the motion and authorize the use of cash collateral and the obtaining of credit to the

extent necessary to avoid immediate and irreparable harm to the Debtor’s estate.

         93.      The Court may grant the relief requested in this Motion immediately if the “relief

is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003. In explaining

the standards governing preliminary injunctions, the Second Circuit instructed that irreparable

harm “‘is a continuing harm which cannot be adequately redressed by final relief on the merits’

and for which ‘money damages cannot provide adequate compensation.’” Kamerling v.

Massanari, 295 F.3d 206, 214 (2d Cir. 2002) (quoting N.Y. Pathological & X-Ray Labs., Inc. v.

INS, 523 F.2d 79, 81 (2d Cir. 1975)). Further, the “harm must be shown to be actual and

imminent, not remote or speculative.” Id.; see also Rodriguez v. DeBuono, 175 F.3d 227, 234

(2d Cir. 1998). The Debtor also requests that the Court waive the stay imposed by Bankruptcy

Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other

than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

court orders otherwise.” Fed. R. Bankr. P. 6004(h).

         94.      Here, the Debtor seeks authorization to access DIP financing and use Cash

Collateral immediately following the Petition Date. The Debtor will use the DIP financing and

Cash Collateral to, among other things, operate its business and fund the administration of this

Chapter 11 Case. The Debtor believes that substantially all of its available cash constitutes the


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Prepetition Lenders’ Cash Collateral. The Debtor therefore will be unable to operate its business

or fund this Chapter 11 Case without immediate access to DIP financing and Cash Collateral and

will suffer immediate and irreparable harm to the detriment of all creditors. Here, the Debtor’s

ability to administer this Chapter 11 Case through access to the DIP financing and the use of

Cash Collateral is vital to preserve and maximize value.

         K.       Request for a Final Hearing

         95.      The Debtor respectfully requests that the Court schedule the Final Hearing and

authorize the Debtor to serve a copy of the Interim Order which fixes the time and date for the

Final Hearing and the filing of objections within three (3) business days after entry thereof by

first-class mail upon the notice parties set forth below.

                                    RESERVATION OF RIGHTS

         96.      Nothing in this Motion should be construed as (a) authority to assume or reject

any executory contract or unexpired lease of real property, or as a request for the same; (b) an

admission as to the validity, priority, or character of any claim or other asserted right or

obligation, or a waiver or other limitation on the Debtor’s ability to contest the same on any

ground permitted by bankruptcy or applicable non-bankruptcy law; (c) a promise to pay any

claim; (d) granting third-party-beneficiary status or bestowing any additional rights on any third

party; or (e) being otherwise enforceable by any third party.

                                                 NOTICE

         97.      Notice of this Motion will be given to: (i) Office of the United States Trustee, 201

Varick Street, Suite 1006, New York, New York, 10014, (ii) counsel for the DIP Lender and the

Senior Secured Lender, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York

10153 (Attn: Matthew S. Barr, Esq. and David J. Cohen, Esq.); (iii) counsel for UMEZ, Venable

LLP, Rockefeller Center, 1270 Avenue of the Americas, 24th Floor, New York, New York
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10020 (Attn: Rishi Kapoor, Esq. and Michael C. Phillipou, Esq.); (iv) counsel for the Building

Secured Lender and the Building Loan Agent, Manatt, Phelps & Phillips, LLP, 7 Times Square,

New York, New York 10036 (Attn: Neil S. Faden, Esq.); (v) counsel for The Port Authority of

New York and New Jersey, Skadden, Arps, Slate, Meagher & Flom LLP, 4 Times Square, New

York, New York 10036 (Attn: Jay M. Goffman, Esq. and Christine A. Okike, Esq.); (vi) counsel

for Tutor Perini Building Corp., Nida & Romyn, P.C., 1900 Avenue of the Stars,

Suite 650, Los Angeles, CA 90067 (Attn: Robert Nida, Esq.), (vii) the Internal Revenue Service,

(viii) the Securities and Exchange Commission, (ix) the parties included on the Debtor’s

consolidated list of their 20 largest unsecured creditors, (x) the United States Attorney of the

Southern District of New York, and (xi) all parties entitled to notice pursuant to Local

Bankruptcy Rule 9013-1(b). The Debtor submits that no other or further notice is required.

                                          NO PRIOR REQUEST

         98.      No previous request for the relief sought herein has been made to this Court or

any other court.

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                                           CONCLUSION

         The Debtor respectfully requests that this Court enter the Interim Order substantially in

the form annexed hereto, and ultimately at the Final Hearing, the Final Order, granting the relief

requested herein and such other and further relief as may be just and proper.



Dated: October 7, 2019                            Respectfully submitted,
New York, New York

                                                  COLE SCHOTZ P.C.

                                                  /s/ Michael D. Sirota
                                                  Michael D. Sirota
                                                  Felice R. Yudkin
                                                  Ryan T. Jareck
                                                  Mark Tsukerman
                                                  Rebecca W. Hollander
                                                  1325 Avenue of the Americas, 19th Floor
                                                  New York, New York 10019
                                                  Telephone: (212) 752-8000

                                                  Proposed Counsel to the Debtor and
                                                  Debtor in Possession




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